Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 1 of 103
Case 1:06-cv-00643-GEL Document 305-1                             Filed 07/14/11      Page 2 of 50




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------~--------------------------------------   x

In re REFCO CAPITAL MARKETS, LTD.
BROKERAGE CUSTOMER SECURITlliS                                            06-CIV -0643 (JSR)
LITIGATION                                                                08-CIV-6167 (2d Cir.)

------------------------------------------------------------------- x

                   STIPULATION AND AGREEMENT OF SETTLEMENT

                     This Stipulation and Agreement of Settlement, dated February 28, 2011

(the "Stipulation"), is made and entered into, through their counsel, between Lead

Plaintiffs Global Management Worldwide Limited, Arbat Equity Arbitrage Fund

Limited, and Russian Investors Securities Limited ("Lead Plaintiffs"), on behalf of

themselves and the class of persons and entities defmed below, and Defendants Thomas

H. Lee Equity Fund V, L.P., Thomas H. Lee Parallel Fund V, L.P., Thomas H. Lee

Equity (Cayman) Fund V, L.P., Thomas H. Lee Partners, L.P., THL Managers V, LLC,

Thomas H. Lee Equity Advisors V, LLC, Thomas H. Lee Advisors, LLC, Thomas H. Lee

Investors Limited Partnership, The 1997 Thomas H. Lee Nominee Trust, Thomas H. Lee,

David V. Harkins, Scott L. Jaeckel and Scott A. Schoen. SUbject to the terms and

conditions set forth herein and the Court's approval pursuant to Rule 23 of the Federal

Rules of Civil Procedure, the settlement embodied in this Stipulation is intended by the

Settling Parties: (a) to be in full and fmal disposition of the Action with respect to the

Settling Defendants; and (b) to fully, finally and forever resolve, discharge, dismiss and

settle the Released Claims against the Released Persons. 1


1 All capitalized words or terms, not otherwise defined herein, shall have the meaning as
set forth below in Paragraph 1 hereof, entitled "Definitions."



US_ACTIVE:\43640456\03\77356.0064
                                                                             c_c _ _ _ • _ _ _ _ _ _ _ _ _ _ __




Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 2 of 103
 Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11     Page 3 of 50




                     WHEREAS,

                     A.         The Refco Chapter 11 Plan established two litigation trusts to

pursue potential claims against third parties. The fIrst trust, the Refco Litigation Trust,

was established to pursue claims belonging to Refco or its affiliates. The Refco

Litigation Trust commenced an action against the Settling Defendants entitled Kirschner

v. Thomas H. Lee Partners, LP, et ai, No. 07 Civ. 7074 (JSR) (S.D.N.Y.). The

benefIciaries of the Refco Litigation Trust include each Settlement Class Member, as

customers and creditors of Refco, as well as other general unsecured creditors of Refco

entities.

                      B.        The second trust, the Refco Private Actions Trust, was established

so that creditors and customers of Refco and its affiliates could contribute any claims

they may have individually against third parties (or recoveries under such claims) to a

single entity to pursue. All the Settlement Class Members, as well as the vast majority of

the other beneficiaries of the Refco Litigation Trust, have contributed their individual

claims to the Refco Private Actions Trust (except that with respect to securities fraud

claims asserted in the Action, among others, only the rights to proceeds of such claims

were contributed) and are, therefore, beneficiaries of the Refco Private Actions Trust.

Recoveries in the Action are among the proceeds contributed to the Refco Private

Actions Trust and, as a result, are required to be distributed to the beneficiaries of such

trust. Marc S. Kirschner serves as Trustee (the "Trustee") for both the Refco Litigation

Trust and the Refco Private Actions Trust.

                     C.         The Trustee has represented to the Settling Defendants that the

benefIciaries of both trusts are substantially similar because the holders of greater than


us_ACTIVE:143640456\o3\773 56.0064                   2
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 3 of 103
 Case 1:06-cv-00643-GEL Document 305-1                          Filed 07/14/11      Page 4 of 50




ninety percent (90%) of the beneficial interests in the Refco Litigation Trust are also

beneficiaries under the Refco Private Actions Trust. The Trustee has also represented to

the Settling Defendants that the proceeds from any global settlement of claims involving

both the Refco Litigation Trust and the Refco Private Actions Trust are to be shared

equally between the two trusts.

                     D.        The Action was commenced on January 26, 2006, when Global

Management Worldwide Limited, a brokerage customer of Refco Capital Markets Ltd.

("RCM") (a subsidiary of Refco, Inc.), filed a putative Class Action Complaint in this

Court asserting claims under the federal securities laws against the Settling Defendants

and other individuals and entities.

                     E.         By Order dated July 7, 2006, the Court: (i) consolidated the action

commenced by Global Management Worldwide Limited with a separate action against an

unrelated defendant under the caption In re Refco Capital Markets, Ltd. Brokerage

Customer Securities Litigation, 06 Civ. 0643 (S.D.N.Y.); (ii) appointed Global

Management Worldwide Limited, Arbat Equity Arbitrage Fund Limited and Russian

Investors Securities Limited as Lead Plaintiffs; and (iii) appointed Kirby McInerney &

Squire, LLP as Lead Counsel for the plaintiffs. Thereafter, by Order dated May 1,2008,

the Court appointed Milbank, Tweed, Hadley & McCloy LLP as Co-Lead Counsel for

plaintiffs and re-designated Kirby McInerney & Squire, LLP as Co-Lead Counsel for

plaintiffs.

                     F.        On September 5, 2006, Lead Plaintiffs filed a Consolidated

Amended Class Action Complaint. On January 19,2007, the Settling Defendants moved

to dismiss the Consolidated Amended Class Action Complaint, which Lead Plaintiffs


US_AcrrVE:I4)6<W456\O)\77356.0064                    3
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 4 of 103
Case 1:06-cv-00643-GEL Document 305-1                            Filed 07/14/11   Page 5 of 50




opposed. On September 13, 2007, the Court granted the Settling Defendants' motion to

dismiss the Consolidated Amended Class Action Complaint, but granted Lead Plaintiffs'

request for leave to replead.

                     G.        On December 21,2007, Lead Plaintiffs filed a Second Amended

Consolidated Class Action Complaint (the "Complaint"). The Complaint alleges

violations of the Securities Exchange Act of 1934 during the Class Period and changed

the definition of the class such that the Settlement Class Members included only those

former customers of RCM that had assigned the proceeds of their claims to the Refco

Private Actions Trust. Prior to the filing of the Complaint, the amended definition of the

class was presented to the Court at a hearing dated November 20, 2007.

                     H.        On February 21,2008, the Settling Defendants moved to dismiss

the Complaint. On August 28, 2008, the Court granted the Settling Defendants' motion

to dismiss the Complaint, with prejudice. On December 19,2008, Lead Plaintiffs filed a

notice of appeal to the United States Court of Appeals for the Second Circuit (the

"Second Circuit"). The appeal was fully briefed by the parties and oral argument was

heard on October 19,2009. No decision has yet been rendered.

                     1.        Notwithstanding the above-referenced motion practice, and

beginning in 2008, the parties participated in an extensive discovery process in the Refco­

Related Actions, which process was, by Order dated December 11, 2007, coordinated

with the other Refco-Related Actions also pending in this Court. Although the parties did

not complete all of the discovery that would have been necessary for purposes of the

Action should the Action have proceeded beyond the pleadings stage, the discovery




us_ACTlVE,143640456\03177356.0064                  4




                                                          ;--"
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 5 of 103
 Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11     Page 6 of 50




process included the production of millions of pages of emails, memoranda, and other

documents by parties and non-parties as well as approximately 100 depositions.

                      J.        Following arms'-length negotiations -- including two mediation

sessions and extensive discussions between counsel for the Settling Parties -- Lead

Plaintiffs and the Settling Defendants entered into a Settlement Agreement and General

Release, dated as of February 28, 20 II (the "Global Settlement"), providing for a global

settlement of the Refco-THL Estate Action under which the Settling Defendants will

make a payment to the Refco Litigation Trust to settle the statutory avoidance claims

specified in Counts I, II and III of the First Amended Complaint, filed on or about

December 4, 2009, in the Refco-THL Estate Action (the "First Amended Complaint").

The Global Settlement also provides for dismissal with prejudice of all other claims in the

Refco-THL Estate Action, as well as all claims in this Action and the following Refco­

Related Actions, against the Settling Defendants: (i) Capital Management Select Fund

Ltd.. et al. v. Bennett. et al., No. 08 Civ. 6166 (2d Cir.); (ii) VR Global Partners LP. et

al. v. Bennett. et al.. No. 08 Civ. 6230 (2d Cir.); and (iii) Capital Management Select

Fund Ltd.. et al. v. Bennett. et al., No. 08 Civ. 09810 (JSR) (S.D.N. Y.).

                      K.         As part of the Global Settlement, the Settling Defendants ascribe

no monetary value to this Action. Although Lead Plaintiffs' Counsel do not agree with

the Settling Defendants' position, they do agree, having undertaken an extensive factual

investigation and legal analysis as to the claims against the Settling Defendants in the

Action and the Settling Defendants' defenses to those claims, that it is extremely difficult

to arrive at a predicted monetary value of the Action.




us ~ACTIVE:\43640456\03\77356.0064                    5
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 6 of 103
 Case 1:06-cv-00643-GEL Document 305-1                         Filed 07/14/11      Page 7 of 50




                    L.        In any event, Lead Plaintiffs' Counsel has concluded that it is not

necessary to reach a conclusion about the value of the Action because, if the Settlement is

finally approved, and based on the fonnulas for allocating distributions between

Settlement Class Members and the other beneficiaries of the Refco Litigation Trust and

the Refco Private Actions Trust (i.e., certain other unsecured creditors of Refco), the

Settlement Class Members will receive approximately $40 million from the Global

Settlement described above. 10 light of the foregoing, Lead Plaintiffs' Counsel has

concluded that the tenns and conditions of the Settlement provided for in this Stipulation

are fair, reasonable, adequate and in the best interests of the Settlement Class.

                    M.         The Trustee has represented to the Settling Defendants and the

Court that ascribing no monetary value to the Action will not have a material effect on

the recoveries for the Settlement Class Members because (i) the Refco Private Actions

Trust Agreement provides that for any settlement that involves the resolution of claims of

both the Refco Private Actions Trustee and the Litigation Trustee, the proceeds are

divided equally among the Trusts and this has been the practice of the Trusts; and (it)

there is a substantial overlap in the beneficiaries of the Refco Litigation Trust and the

Refco Private Actions Trust.

                    N.        The Settling Parties agree that the tenns of the Settlement set forth

in this Stipulation, which remain subject to Court approval, were negotiated at anns'­

length, in good faith and reflect a settlement that was reached voluntarily after

consultation with experienced legal counsel.

                    O.        Each and all of the Settling Defendants continue to deny any and

all allegations of wrongdoing, fault, liability or damages to Lead Plaintiffs and/or the


US_ACTNE:143640456\03\77356.0064                    6
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 7 of 103
Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 8 of 50




Settlement Cla.<;s and believe that they acted at all times properly, in good faith and in a

manner consistent with their legal duties and obligations and deny any wrongdoing, fault,

liability or damages to Lead Plaintiffs and/or the Settlement Class.

                     NOW THEREFORE, it is hereby STIPULATED AND AGREED by

and between Lead Plaintiffs (on behalf of themselves and the Settlement Class Members)

and the Settling Defendants, through their respective attorneys, that, in consideration of

the benefits flowing to all parties hereto, all claims asserted in the Action against the

Settling Defendants shall be settled, compromised, released and dismissed with prejudice,

and without costs, on the tenus and conditions stated below, subject to Court approval

following a Settlement Hearing to be held pursuant to Rule 23 of the Federal Rules of

Civil Procedure.

1.        Definitions

                     The following tenns shall have the following meanings for the purpose of

this Stipulation and the exhibits to this Stipulation:

           1.1       "Action" means In re Refco Capital Markets. Ltd. Brokerage Customer

Securities Litigation, No. 06 Civ. 0643 (JSR), currently on appeal to the United States

Court of Appeals for the Second Circuit (08-Civ-6167).

           1.2        "Class Period" means the period beginning on October 17, 2000 through

and including October 17, 2005.

           1.3       "Court" means the United States District Court for the Southern District of

New York, in which the Action was commenced. The Court subsequently dismissed the

Action with prejudice on August 28, 2008. The Action is currently pending in the United

States Court of Appeals for the Second Circuit.


US_ACTIVE:\43640456\03\77356,0064                 7
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 8 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11     Page 9 of 50




           1.4        "Defendants" means, collectively, the Settling Defendants and the Non-

Settling Defendants.

           1.5        "Effective Date" means the date upon which the Settlement contemplated

by this Stipulation shall become final and effective as set forth in Section 7 of this

Stipulation.

            1.6        "Final Order and Judgment" means the judgment and order of dismissal

with prejudice described in Section 4 of this Stipulation to be entered in the Action

approving the Settlement and which shall be substantially in the form attached hereto as

Exhibit B.

            1.7        "Global Settlement" means the Settlement Agreement and General

Release, dated as of February 28,2011, between, among others, Lead Plaintiffs and the

Settling Defendants.

            1.8        "Lead Plaintiffs" means Global Management Worldwide Limited, Arbat

Equity Arbitrage Fund Limited and Russian Investors Securities Limited.

            1.9        "Lead Plaintiffs' Counsel" means the law firms of Milbank, Tweed,

Hadley & McCloy LLP and Kirby McInerney & Squire, LLP.

            1.10       "Non-Settling Defendants" means any Person, other than the Settling

Defendants, who: (a) is a named defendant in the Action; and/or (b) was previously a

named defendant in the Action but was dismissed for any reason, whether by settlement,

judgment or otherwise.

            1.11       "Notice" means the Notice of (i) Proposed Settlement of Class Action

with the THL Defendants and (ii) Hearing on Proposed Settlement, substantially in the

form attached hereto as Exhibit A-I which shall be sent to Settlement Class Members.


US ..ACTlVE:14364{)4S6\03\77356.0064               8
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 9 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11     Page 10 of 50




            1.12       "Notice Expenses" means all expenses incurred in connection with the

preparation, printing and mailing of the Notice, as well as corresponding with Settlement

Class Members.

            1.13       "Person" means an individual, corporation, limited liability company,

professional corporation, limited liability partnership, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated

association, government or any political subdivision or agency thereof and any business

or legal entity as well as each of their spouses, heirs, predecessors, successors,

representatives or assignees.

            1.14       "Preliminary Approval Order" means the proposed order to be entered by

the Court preliminarily approving the Settlement and directing notice thereof to the

Settlement Class and which shall be substantially in the form attached hereto as

Exhibit A.

            1.15       "Refco" means Refco, Inc., Refco Group Ltd., LLC, New Refco Group

Ltd., LLC, Refco Finance Inc., Refco Finance Holdings LLC, Refco Capital Markets Ltd.

("RCM"), Retco Securities LLC and any and all predecessors and subsidiaries, whether

direct or indirect.

            1.16       "Refco Chapter 11 Plan" means the Modified Joint Chapter I 1 Plan of

Refco Inc. and Certain of its Direct and Indirect Subsidiaries, as confirmed by the United

States Bankruptcy Court for the Southern District of New York on December 26,2006.

            1.17       "Refco-THL Estate Action" means the action commenced by the Trustee

for the Refco Litigation Trust against the Settling Defendants entitled Kirschner v.

Thomas H. Lee Partners, LP, et ai, No. 07 Civ. 7074 (JSR) (S.D.N.Y.).


t;S _ACTIVE:14 3640456103\77356.0064               9
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 10 of 103
 Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 11 of 50




           1.18       "Refco Litigation Trust" means the trust established pursuant to the Refco

 Chapter 11 Plan, the terms of which are set forth in the Refco Litigation Trust

 Agreement, dated December 26,2006.

            1.19      "Refco Private Actions Trust" means the trust established pursuant to the

 Refco Chapter 11 Plan, the terms of which are set forth in the Refco Non-Estate Private

 Actions Trust Agreement, dated December 26, 2006.

            1.20      "Refco-Related Actions" means each and every one of the actions covered

 by the Court's December 11,2007 Deposition Protocol Order.

            1.21      "Released Claims" means, collectively, all of the Released Plaintiffs'

 Claims and all of the Released Defendants' Claims.

            1.22      "Released Defendant Persons" means each and all of the following: (a)

 the Settling Defendants; (b) the Settling Defendants' respective past and/or present

 affiliates {to the extent not otherwise covered in clause (c», and subsidiaries (the

 "Affiliated Releasees"); provided, however, that Affiliated Releasees does not include

 Refco and/or Refco Group Holdings, Inc. ("RGHI"); (c) the past and/or present

 employees, officers, general partners, parents and directors of any of the Settling

 Defendants or any of the Affiliated Releasees (the "Additional Releasees," together with

 the Settling Defendants and the Affiliated Releasees, the "Releasees"); provided,

 however, that the past and/or present employees, officers, partners, parents and directors

 of the Affiliated Releasees are being released solely in respect of any liabilities that arose

 in connection with their relationship to the Settling Defendants; (d) the Releasees' past

 and/or present managing directors, representatives, agents, attorneys, insurers, reinsurers,

 principals, members, managers, families, stockholders, heirs, executors, trustees, personal


 US_ACTlVE:143640456\()3177356,0064               10
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 11 of 103
Case 1:06-cv-00643-GEL Document 305-1                     Filed 07/14/11      Page 12 of 50




 representatives, estates administrators, predecessors, divisions, successors and assigns

 (the "Related Releasees"); provided, however, that those of the Related Releasees who

 are such in their capacity as past and/or present managing directors, representatives,

 agents, attorneys, insurers, reinsurers, principals, members, managers, families,

 stockholders, heirs, executors, trustees, personal representatives, estate administrators,

 predecessors, divisions, successors and/or assigns of the Affiliated Releasees are being

 released solely in respect of any liabilities that arose in connection with their relationship

 to the Settling Defendants; and (e) the Settling Defendants' limited partners (including

 without limitation those who co-invested in Refco alongside the THL Funds in August

 2004) and each oftheir past and/or present employees, officers, partners, directors,

 managing directors, heirs, executors, trustees, and estates administrators (the "Limited

 Partner Releasees"); provided, however, that the Limited Partner Releasees are being

 released solely in their capacity as limited partners of the Settling Defendants and/or as

 co-investors who invested in Refco alongside the THL Funds in August 2004.

 Released Defendant Persons also includes any Person who received any portion of the

 payments or transfers identified in Counts I, II and/or III of the First Amended Complaint

 filed in the Refco-THL Estate Action, on or about December 4,2009, either directly from

 the transferors identified in the First Amended Complaint or from any of the Settling

Defendants (the "Subsequent Transferees"); provided however, that with regard to any of

the Subsequent Transferees who are not also Releasees, Related Releasees, or Limited

 Partner Releasees, the Released Claims are limited to those claims that are derivative of

or otherwise arise out of claims or allegations raised or made in the First Amended

Complaint.


US~ACTrvE:\43640456\03\77356,0064             11
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 12 of 103
Case 1:06-cv-00643-GEL Document 305-1                    Filed 07/14/11     Page 13 of 50




 Notwithstanding this provision or any other provision in this Agreement, "Released

 Defendant Persons" does not include any of the existing defendants in the following

 actions as of January 14,2011, all of which the parties acknowledge and agree are listed

 on Exhibit C attached hereto (and/or (a) their successors, assigns, transferees, or (b) any

 individual or entity, which individual or entity knew or should have known that it would

 have been sued in one of the following actions but for a mistake in using the wrong name

 to identify such person or entity, and in addition, such person or entity knew of the

 existence of the action): (i) Kirschner v. Grant Thornton LLP. et al., 07-Civ. 11604

 (S.D.N.Y), including but not limited to Ernst & Young U.S. LLP, Tone N. Grant, Robert

 C. Trosten, Refco Group Holdings, Inc., Phillip R. Bennett, Santo C. Maggio, Grant

 Thornton LLP, Mayer Brown LLP, Mayer Brown International LLP,

 PriceWaterhouseCoopers LLP, Credit Suisse Securities (USA) LLC, Banc of America

 Securities LLC, Deutsche Bank Securities Inc., Liberty Corner Capital Strategies LLC,

 William T. Pigott, Ingram Micro. Inc., CIM Ventures, Inc., Beckenham Trading

 Company, Inc. and Andrew Krieger; (ii) Kirschner v. KPMG LLP., 08-Civ. 8784

 (S.D.N.Y), including but not limited to KPMG LLP; (iii) Kirschner v. Bennett et al., 07­

 Civ. 8165 (S.D.N.Y), including but not limited to Phillip R. Bennett, Santo C. Maggio,

 Grant Thornton LLP, Mayer Brown International LLP, and Mayer Brown LLP; (iv)

 Kirschner v. Hackl et 01., 07-Civ. 09238 (S.D.N.Y), including but not limited to Clarnet

 Properties S.A., and W.P.M., S.A.; (v) Kirschner v. Agoglia. et 01., Adv. Pro. No. 07­

 03060 (Bankr. S.D.N.Y), including but not limited to Phillip R. Bennett, John Agoglia,

 Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust, Edwin L. Cox, Sukhmeet

 Dhillon, Trustee(s) of the Dittmer Family Trust, Stephen J. Grady, Tone Grant, Eric


US_ACTlVE:\4364Q4~6\03\773~60064             12
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 13 of 103
Case 1:06-cv-00643-GEL Document 305-1                     Filed 07/14/11      Page 14 of 50




 Lipoff, Peter J. McCarthy, Joseph Murphy, Frank Mutterer, William M. Sexton, Santo C.

 Maggio, Robert C. Trosten, Memphis Holdings LLC, MLC First Cayman Ltd, Refco

 Group Holdings, Inc., Willard Sparks and the MSD Family Trust; (vi) Kirschner v.

 Sugrue, et al., 07-Civ. 645 (Delaware), including but not limited to Christopher Sugrue;

 (vii) Kirschner v. Tradition Asiel Securities, Inc., No. 07-02851 (Bankr. S.D.N.Y.),

 including but not limited to Tradition Asiel Securities, Inc.; (viii) Kirschner v. The New

 York Times Co., dba NewYorkTimes.com, No. 07-02859 (Bankr. S.D.N.Y.), including but

 not limited to The New York Times Co. d/b/a NewYorkTimes.com; (ix) Kirschner v.

 VTB Bank aka Bankjor Foreign Trade ofRussia, No. 07-03019 (Bankr. S.D.N.Y.),

 including but not limited to VTB Bank aka Bank for Foreign Trade of Russia; and (x)

 Kirschner v. Icon interiors, inc., No. 08-01397 (Bankr. S.D.N.Y.), including but not

 limited to Icon Interiors, Inc. However, this fmal paragraph (the third paragraph of this

 provision) does not apply to the Settling Defendants.

           1.23      "Released Defendants' Claims" means any and all claims, demands,

 actions, causes of action, obligations, debts, jUdgments, interests, complaints, claims,

 liabilities, promises, agreements, controversies, suits, rights, damages, costs, losses,

 debts, charges, expenses (including attorneys' fees and disbursements of counsel, other

 professionals and consultants) and liabilities of any and all kind, nature and description,

 whether direct or derivative, whether at law or in equity (upon any legal or equitable

 theory, whether contractual, tort-based, common law or statutory, whether arising under

 federal, state, common or foreign law, whether based on bad faith, allegedly intentional,

 willful, negligent or reckless conduct, whether asserted as claims, cross-claims,

counterclaims, third-party claims or in any other manner in any pleadings or filings in


US_ACTIVE:143640456\OJ\77356.0064              I3
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 14 of 103
 Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 15 of 50




this Court, in any federal or state court, or in any other court, arbitration proceeding,

administrative agency or other forum in the United States or elsewhere), whether such are

known or Unknown (as that term is employed and defined in Paragraph 8.4 below),

secured or unsecured, contingent or absolute, choate or inchoate, suspected or

unsuspected, ripened or unripened, liquidated or unliquidated, perfected or unperfected,

whether asserted on the Releasing Defendants' behalf or on behalf of another Person,

whether asserted by any or all of the Releasing Defendants, against any or all of the

 Released Plaintiff Persons and whether they be directly, indirectly, nominally or

 beneficially, possessed or claimed by the Releasing Defendant, that such Person, or any

 Person or entity claiming through such Person or by right in respect of such Person, has

 ever had since the beginning of time, now has, or that may arise or accrue in the future

 and that arise out of or relate to in any way to the institution, prosecution or settlement of

 the Action, except for claims relating to the enforcement of the Settlement. Nothing in

this Definition is intended to release any of the claims identified in Paragraph 4.2Cc)

below that were or may be asserted by any of the Settling Defendants. Moreover,

nothing in this Definition is intended to modify or limit the releases contained in the

Global Settlement.

           1.24      "Releasing Defendants" means each and all of the following: Ca) Thomas

H. Lee Equity Fund V, L.P., Thomas H. Lee Parallel Fund V, L.P., and Thomas H. Lee

Equity (Cayman) Fund V, L.P., THLP, Thomas H. Lee Advisors, LLC, THL Managers

V, LLC, THL Equity Advisors V, LLC, Thomas H. Lee Investors Limited Partnership,

the 1997 Thomas H. Lee Nominee Trust, Thomas H. Lee, David V. Harkins, Scott L.

Jaeckel and Scott A. Schoen; and (b) all of the THL Defendants' present or former


US_ACTIVE:\43640456\03\77356_0064               14
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 15 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11     Page 16 of 50




 partners, limited partners, officers, directors, employees, agents, affiliates, owners,

 predecessors, successors, assigns, heirs, executors, administrators, and trustees and any

 other Person who has the right, ability, standing or capacity to assert, prosecute or

 maintain any ofthe Released Claims or to obtain the proceeds of any recovery (in whole

 or in part) on those claims, to the extent any such persons and entities described in this

 subsection (b) are within the THL Defendants' control.

           1.25      "Released Persons" means, collectively, the Released Plaintiff Persons and

 the Released Defendant Persons.

           1.26      "Released Plaintiff Persons" means, collectively, Lead Plaintiffs, the

 Refco Litigation Trust, the Refco Private Actions Trust, the Trustee, members of the

 Board of Directors of the Refco Litigation Trust, members of the Board of Directors of

 the Refco Private Actions Trust, Refco, together with any of its affiliates, the Refco

 Estate, the Refco Plan Administrators, Marc S. Kirschner and Robert Manzo, Lead

 Plaintiffs' Counsel, Settlement Class Members, any other counsel any Settlement Class

 Member retained or employed in this Action and each of their respective past and/or

 present affiliates, subsidiaries, general partners, parents and limited partners, employees,

 officers, partners, directors, managing directors, representatives, agents, attorneys,

 insurers, reinsurers, principals, members, managers, families, stockholders, heirs,

 executors, trustees, personal representatives, estates administrators, predecessors,

 di visions, successors and assigns; provided, however, that "Released Plaintiff Persons"

 does not include Grant Thornton LLP, Refco Group Holdings, Inc., Phillip R. Bennett

 individually or in his capacity as owner of Refco Group Holdings. Inc., or the estate of

Phillip R. Bennett.


US_ACTrvE:\4J640456\03\71356.0064                15
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 16 of 103
Case 1:06-cv-00643-GEL Document 305-1                      Filed 07/14/11     Page 17 of 50




           1.27      "Released Plaintiffs' Claims" means any and all claims, demands, actions,

 causes of action, obligations, debts, judgments, interests, complaints, claims, liabilities,

 promises, agreements, controversies, suits, rights, damages, costs, losses, debts, charges,

 expenses (including attorneys' fees and disbursements of counsel, other professionals and

 consultants) and liabilities of any and all kind, nature and description, whether direct or

 derivative, whether at law or in equity (upon any legal or equitable theory, whether

 contractual, tort-based, common law or statutory, whether arising under federal, state,

 common or foreign law, whether based on bad faith, allegedly intentional, willful,

 negligent or reckless conduct, whether asserted as claims, cross-claims, counterclaims,

 third-party claims or in any other manner in any pleadings or filings in this Court, in any

 federal or state court, or in any other court, arbitration proceeding, administrative agency

 or other forum in the United States or elsewhere), whether such are known or Unknown

 (as that term is employed and defmed in Paragraph 8.4 below), secured or unsecured,

 contingent or absolute, choate or inchoate, suspected or unsuspected, ripened or

 unripened, liquidated or unliquidated, perfected or unperfected, whether asserted on the

 Releasing Plaintiffs' own behalf or on behalf of another Person, and whether they be

 directly, indirectly, nominally or beneficially, possessed or claimed by the Releasing

 Plaintiff, that such Person, or any Person or entity claiming through such Person or by

 right in respect of such Person, has ever had since the beginning of time, now has, or that

 may arise or accrue in the future against any of the Released Defendant Persons that: (a)

 in any way arise out of, are based upon, relate to or concern the facts, matters,

 occurrences, claims made, allegations, representations, omissions, actions (or failure to

act), transactions, agreements, or conduct alleged, complained of, set forth, referred to,


US_ACTlVE:143640456\03\77356.0064                16
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 17 of 103
Case 1:06-cv-00643-GEL Document 305-1                     Filed 07/14/11      Page 18 of 50




involved in or which could have been raised or made in the Complaint and/or in the

Action; (b) in any way relates to or concerns Refco and/or RGHI, or the conduct of any

of Refco's and/or RGHI's present or former partners, limited partners, officers, directors,

employees, agents, advisors, accountants, auditors, affiliates, representatives,

professionals, owners or attorneys to the extent that such conduct relates in any way to

the conduct complained of or that could have been complained of in the Action that has

occurred prior to the Effective Date; (c) in any way arise out of, are based upon, relate to

or concern the THL Funds' investment in Refco, including, without limitation, the initial

 investment in August 2004, the transactions, agreements, matters, due diligence and

events leading thereto and undertaken in connection therewith; (d) in any way arise out

of, are based upon, relate to or concern any and all agreements entered into by and

 between any of the Released Defendant Persons and Refco and/or RGHI, including

 without limitation, the Management Agreement, entered into August 5, 2004, by and

 between New Refco Group Ltd., LLC, Refco Group Ltd., LLC and THL Managers V

 LLC; (e) in any way arise out of, are based upon, relate to or concern Refco's August

 2005 initial public offering; (f) in any way arise out of, are based upon, relate to or

concern securities deposited or held at RCM and/or Refco Securities, LLC; (g) in any

way arise out of, are based upon, relate to or concern the 9% Senior Subordinated Notes

due 2012, issued by Refco Group Ltd., LLC and Refco Finance Inc. (and guaranteed by

other Refco entities); (h) in any way arise out of, are based upon, relate to or concern the

cases filed by any Refco entity under title 11 of the United States Code on or around

October 17, 2005, and any subsequent proceedings therein, as well as any and all related

cases; (i) in any way arise out of, are based upon, relate to or concern claims under any


US_ACTJVE;\43640456\03\71356.0064             17
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 18 of 103
Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 19 of 50




section of title 11 ofthe United States Code, including but not limited to 11 U.S.c. §§

5020) and (h), that in any way relates to or concerns Refco and/or RGHI; and/or 0) in

any way arise out of, are based upon, relate to or concern the facts, matters, occurrences,

claims made, allegations, representations, omissions, actions (or failure to act),

transactions, agreements, or conduct alleged, complained of, set forth, referred to,

involved in or which could have been raised or made in Kirschner v. Grant Thornton

LLP, et al., 07-Civ. 11604 (S.D.N.Y); Kirschner v. KPMG LLP., 08-Civ. 8784

(S.D.N.Y); Kirschner v. Bennett et aI., 07-Civ. 8165 (S.D.N.Y); Kirschner v. Hackl et al.,

07-Civ. 09238 (S.D.N.Y); Kirschner v. Agoglfa, et al., Adv. Pro. No. 07-03060 (Bankr.

S.D.N.Y); Kirschner v. Sugrue, et al., 07-Civ. 645 (Delaware); Kirschner v. Tradition

Asiel Securities, Inc., No. 07-02851 (Bankr. S.D.N.Y.); Kirschner v. The New York Times

Co., dba NewYorkTimes.com, No. 07-02859 (Bankr. S.D.N.Y.); Kirschner v. VTB Bank

aka Bankjor Foreign Trade ofRussia, No. 07-03019 (Bankr. S.D.N.Y.); and Kirschner

v. Icon Interiors, Inc., No. 08-01397 (Bankr. S.D.N.Y.).

           1.28      "Releasing Plaintiffs" means each and all of the following: (a) Lead

Plaintiffs, (b) every Settlement Class Member, and (c) all of their present or former

partners, limited partners, officers, directors, employees, agents, affiliates, owners,

predecessors, successors, assigns, heirs, executors, administrators, trustees, and any other

Person who has the right, ability, standing or capacity to assert, prosecute or maintain any

of the Released Claims or to obtain the proceeds of any recovery (in whole or in part) on

those claims, to the extent any such persons and entities described in this subsection (c)

are within any of Lead Plaintiffs' or Settlement Class Members' control.




US.•ACTlVE:1436404S6\03\773S6.0064               18
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 19 of 103
Case 1:06-cv-00643-GEL Document 305-1                       Filed 07/14/11     Page 20 of 50




           1.29      "Releasing Persons" means, collectively, the Releasing Plaintiffs and the

Releasing Defendants.

           1.30      "Settlement" means the resolution and settlement of the Action as against

the Settling Defendants pursuant to, and in accordance with, the tenns and provisions of

this Stipulation.

           1.31       "Settlement Class" means all securities brokerage customers of RCM

who: (i) at any time from October 17, 2000 to October 17,2005, placed securities with

or held securities at RCM and/or Refco Securities, LLC, directly or indirectly, as

custodian or broker for safe-keeping, trading or other purposes, and continued to hold

positions with RCM on October 17,2005 or thereafter; and (ii) who elected to contribute

the proceeds of their claims to the Refco Private Action Trust. Excluded from the

Settlement Class are: (a) Refco; (b) the Defendants; (c) officers and directors of Refco

and the Defendants; (d) members of the Defendants' immediate families; (e) entities in

which Refco or any Defendant has a controlling interest; and (f) the legal representatives,

heirs, successors or assigns of any of the foregoing excluded persons or entities.

           1.32      "Settlement Class Member" means any person or entity that falls within

the definition of the Settlement Class as defined above in Paragraph 1.31 and who or

which is not excluded therefrom.

           1.33      "Settlement Hearing" means the final hearing to be held by the Court to

detennine whether the Settlement is fair, reasonable and adequate and in the best interests

of the Settlement Class and should be approved as described in Paragraph 3.1 of this

Stipulation.




US_AcrrvE:143640456\03\77356<0064                19
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 20 of 103
Case 1:06-cv-00643-GEL Document 305-1                         Filed 07/14/11     Page 21 of 50




           1.34       "Settling Defendants" means Thomas H. Lee Equity Fund V, L.P.,

Thomas H. Lee Parallel Fund V, L.P., and Thomas H. Lee Equity (Cayman) Fund V, L.P.

 (the "THL Funds"); Thomas H. Lee Partners, L.P. ("THLP"), THL Managers V, LLC,

Thomas H. Lee Equity Advisors V, LLC, Thomas H. Lee Advisors, LLC, Thomas H. Lee

 Investors Limited Partnership and The 1997 Thomas H. Lee Nominee Trust and any

 predecessor or related THL entities named in any prior version of the Complaint,

 including, without limitation, Thomas H. Lee Equity (Cayman) Fund, THL Refco

 Acquisition Partners, THL Refco Acquisition Partners II and THL Refco Acquisition

 Partners III (collectively, with THLP, the "THL Entities"); and Thomas H. Lee, David V.

 Harkins, Scott L. Jaeckel and Scott A. Schoen (collectively, with the THL Entities and

 the THL Funds, the "THL Defendants").

           1.35       "Settling Defendants' Counsel" means, collectively, the law fIrms of Weil,

Gotshal & Manges LLP and Paul, Weiss, Rifkind, Wharton & Garrison LLP.

           1.36       "Settling Parties" means, collectively, the Settling Defendants and the

Lead Plaintiffs on behalf of themselves and each of the Settlement Class Members.

           1.37       "Unknown," for the purposes of the releases, is defmed herein in

Paragraph 8.4 of this Stipulation.

2.         No Further Liability

           2.1        As of the Effective Date, the Settling Defendants shall have no further or

other liability or obligation to Lead Plaintiffs, Lead Plaintiffs' Counselor any Settlement

Class Member with respect to the Action, the claims asserted against them therein or the

Released Plaintiffs' Claims, except as may be expressly stated in this Stipulation.




us_ACTlVE:\43640456\03\77 356.0064                20
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 21 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11     Page 22 of 50




3.         Preliminary Court Approval, Conditional Class Certification And Notice To
           Class Members

           3.1       As soon as practicable following execution of this Stipulation, Lead

 Plaintiffs shall apply to the Court for approval of the Preliminary Approval Order (which

 shall be substantially in the fonn attached as Exhibit A to this Stipulation), requesting

 inter alia: (a) preliminary approval of the Settlement set forth in this Stipulation; (b)

 approval for the mailing of the Notice that, inter alia, set forth the procedures by which

 Settlement Class Members may object to the Settlement; (c) setting a date for the

 Settlement Hearing, to be held after the Notice is mailed, to consider whether to approve

 the Settlement and whether the Order and Final Judgment (substantially in the form of

 Exhibit B attached hereto) should be entered, inter alia, dismissing the Action with

 prejudice as against the Settling Defendants and containing the releases and liability

 protections set forth herein. Counsel for the Settling Defendants shall not oppose the

 application, provided it is otherwise consistent with the tenns of this Stipulation, and

 shall cooperate in good faith with the Lead Plaintiffs in connection therewith.

           3.2       {fthe Preliminary Approval Order is granted by the Court, Lead Plaintiffs'

Counsel will cause the Notice to be mailed to those members of the Settlement Class

 whose addresses may be identified through reasonable effort.

           3.3       Solely for purposes of the Settlement and without prejudice to their right

to challenge class certification if the Stipulation is tenninated, the Effective Date does not

occur or the Settlement is not approved by the Court, the Settling Defendants hereby

stipulate to: (a) certification of the Action as a class action, pursuant to Rules 23(a) and

23(b)( I) of the Federal Rules of Civil Procedure; (b) the appointment of Lead Plaintiffs



US_ACTIVE:\43640456\03\77J56,0064                21
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 22 of 103
Case 1:06-cv-00643-GEL Document 305-1                          Filed 07/14/11     Page 23 of 50




as representatives of the Settlement Class; and (c) the appointment of Lead Plaintiffs'

Counsel as class counsel pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

 If the Stipulation is terminated, the Settlement is not approved by the Court or the

 Effective Date does not occur, the conditional certification of the Action as a class action

 shall be vacated and the Action shall proceed as if the Settlement Class had never been

certified.

 4.        Terms of the Judgment

           4.l       If the Settlement contemplated by this Stipulation is approved by the

 Court, Lead Plaintiffs' Counsel and Settling Defendants' Counsel shall jointly request

 that the Court enter the Final Order and Judgment. The Final Order and Judgment shall

 contain, inter ali~ the releases described in Section 8 of this Stipulation.

           4.2       Bar Order. The Final Order and Judgment shall also contain, inter alia,

 provisions that:

                     (a)        permanently bar, enjoin and restrain any and all Persons from

commencing, prosecuting or asserting against any of the Released Defendant Persons any

 claim for contribution or indemnity arising out of the Action (or any other claim where

 the injury to the claiming Person is the claiming Person's actual or threatened liability to

 the Lead Plaintiffs or any Settlement Class Member arising out of the Action);

                     (b)       permanently bar, enjoin and restrain the Released Defendant

Persons from commencing, prosecuting or asserting against any and all Persons (other

than a Person whose liability has been extinguished by the Settlement) any claim for

contribution or indemnity arising out of the Action (or any other claim where the injury

to the Released Defendant Person is the Released Defendant Persons' actual or threatened


US_ACTIVE:1436404S6\03\773S6.0064                   22
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 23 of 103
Case 1:06-cv-00643-GEL Document 305-1                             Filed 07/14/11     Page 24 of 50




liability to the Lead Plaintiffs or any Settlement Class Member arising out of the Action);

and

                       (c)        provide that nothing in subparagraphs (a) and (b) above, the

 Stipulation or the Final Order and Judgment shall limit or bar claims that do not seek

 recovery for the Settling Defendant's actual or threatened liability to the Lead Plaintiffs

or any Settlement Class Member in connection with the Action, including but not limited

 to, the claims asserted by the THL Funds in the following actions: (i) Thomas H. Lee

 Equity Fund V. L.P., el al. v. Philip R. Bennett, el al., 05 Civ. 9608 (JSR) (S.D.N.Y) and

 (ii) Thomas H. Lee Equity Fund V, L.P.. et al. v. Grant Thornton LLP, 07 Civ. 8663

 (JSR) (S.D.N.Y).

            4.3        Permanent Injunction: The Final Order and Judgment shall also

 contain, inter alia, a provision that permanently bars and enjoins: (a) the Releasing

 Plaintiffs from filing, commencing, prosecuting, intervening in, participating in (as class

 members or otherwise), or receiving any benefits or other relief from, any other lawsuit,

arbitration or other proceeding or order in any jurisdiction that is based upon, arises out

 of or relates to any of the Released Plaintiffs' Claims against the Released Defendant

 Persons; and (b) the Released Defendant Persons from filing, commencing, prosecuting,

 intervening in, participating in (as class members or otherwise), or receiving any benefits

or other relief from, any other lawsuit, arbitration or other proceeding or order in any

jurisdiction that is based upon, arises out of or relates to the Released Defendants' Claims

against the Released Plaintiff Persons; provided, however, that nothing in subparagraphs

(a) and (b) above, the Stipulation or the Final Order and Judgment shall limit or bar

claims that do not seek recovery for the Settling Defendant's actual or threatened liability


us_ACTlVE:\43640456\03 \ 77 356.0064                  23
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 24 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11      Page 25 of 50




to the Lead Plaintiffs or any Settlement Class Member in connection with the Action,

including but not limited to, the claims asserted by the THL Funds in the following

actions: (i) Thomas H. Lee Equity Fund V. L.P., et 01. v. Philip R. Bennett, et 01.,05 Civ.

9608 (JSR) (S.D.N.Y) and (ii) Thomas H. Lee Equity Fund V. L.P., et 01. v. Grant

Thornton LLP, 07 Civ. 8663 (JSR) (S.D.N.Y).

          4.4        The Final Order and Judgment shall also contain, inter ali;!, a provision

requiring that any final verdict or judgment that may be obtained by or on behalf of the

Settlement Class or a Settlement Class Member against a Non-Settling Defendant or

Non-Settling Defendants shall be reduced by the greater of: (a) an amount that

corresponds to the percentage of responsibility of the Settling Defendants for common

damages; or (b) the amount paid by or on behalf of the Settling Defendants to the

Settlement Class for common damages.

          4.5        The Final Order and Judgment shall also contain, inter alia, a provision as

to the Settling Parties' Rule 1] compliance pursuant to Section 21 D(c)( I) of the

Exchange Act, as amended by the Private Securities Litigation Refonn Act ("PSLRA"),

 15 U.S.c. § 78u-4(c)(l). For the purpose of the Court's fmdings and conclusions with

respect thereto, the Settling Parties agree that they (and their counsel) have each complied

with the requirements of Rule 11 of the Federal Rules of Civil Procedure in connection

with the commencement, maintenance, prosecution, defense and/or settlement of the

Action and further agree not to assert otherwise in this Action or in any court, forum or

proceeding.




US_ACTlVE:143640456\03\77J56.0064                 24
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 25 of 103
Case 1:06-cv-00643-GEL Document 305-1                          Filed 07/14/11     Page 26 of 50




 5.        Notice and Binding Effect

           5.1       Lead Plaintiffs' Counsel are responsible for any and all Notice Expenses

 incurred in connection with disseminating Notice of the Settlement, including, but not

 limited to, the printing, labeling and mailing of the Notice. The Settling Defendants (and

 the Released Defendant Persons) shall have no liability, obligation or responsibility of

 any kind with respect to disseminating Notice of the Settlement, except as set forth

 herein.

           5.2       Settlement Class Members shall be bound by all of the tenns of the

 Settlement and this Stipulation and all determinations, judgments and orders in the

 Action relating thereto, including the tenns of the Final Order and Judgment to be entered

 in the Action (and the releases provided for therein, whether favorable or unfavorable to

 the Settlement Class), and will be barred from bringing any action against the Released

 Defendant Persons concerning the Released Plaintiffs' Claims.

 6.        Attorneys' Fees And Expenses Incurred By Lead Plaintiffs

           6.1       Lead Plaintiffs' Counsel are not asking the Court to award them either

 attorneys' fees or costs and expenses incurred in connection with the Action and do not

 intend to do so in the future. Lead Plaintiffs' Counsel and the Trustee have separately

 reached agreement as to attorneys' fees, costs and expenses.

 7.        The Effective Date

           7.1       The Effective Date of the Settlement shall be one (l) business day

 following the latest of the following events:

                     (a)       approval by the Court of the Settlement, following notice to the

Settlement Class and a hearing; and



US_ACTlVE:\4J640456\OJI77356.0064                   25
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 26 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11      Page 27 of 50




                    (b)       entry of the Final Order and Judgment substantially in the form

 attached hereto as Exhibit B (provided it includes the releases set forth in Section 8

 herein and a bar order consistent with the PSLRA).

 8.       The ReJeases

          8.1       The obligations incurred pursuant to this Stipulation are in full and final

 disposition of the Action with respect to the Settling Defendants and any and all Released

 Claims of the Releasing Parties against all of the Released Persons.

          8.2        As of the Effective Date, each and every one of the Releasing Plaintiffs by

 operation of the Final Order and Judgment shall: (a) have and be deemed to have fully,

 fmallyand forever released, relinquished and discharged each and every one of the

 Released Defendant Persons from any and all of the Released Plaintiffs' Claims; (b) have

 and be deemed to have covenanted not to sue any of the Released Defendant Persons

 with respect to any and all of the Released Plaintiffs' Claims; and (c) forever be barred

 and enjoined from filing, commencing, prosecuting, intervening in, participating in (as a

 class member or otherwise) or receiving any benefits or other relief from any other

 lawsuit, arbitration or other proceeding or order in any jurisdiction that is based upon,

 arises out of or relates to any or all of the Released Plaintiffs' Claims against any of the

 Released Defendant Persons. Nothing in this Stipulation is intended to release any claims

 asserted by Lead Plaintiffs (or the Settlement Class) against any of the Non-Settling

 Defendants in the Action.

          8.3       As of the Effective Date, each and every one of the Releasing Defendants

by operation of the Final Order and Judgment shall: (a) have and be deemed to have

fully, finally and forever released, relinquished and discharged each and everyone of the


US_AcnVE:143640456\03\77356.0064                  26
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 27 of 103
Case 1:06-cv-00643-GEL Document 305-1                          Filed 07/14/11      Page 28 of 50




 Released Plaintiff Persons from any and all of the Released Defendants' Claims; (b) have

and be deemed to have covenanted not to sue any of the Released Plaintiff Persons with

respect to any and all of the Released Defendants' Claims; and (c) forever be barred and

enjoined from filing, commencing, prosecuting, intervening in, participating in (as class

 member or otherwise), or receiving any benefits or other relief from, any other lawsuit,

 arbitration or other proceeding or order in any jurisdiction that is based upon, arises out

of or relates to the Released Defendants' Claims against any of the Released Plaintiff

 Persons; provided, however, that notrung in subparagraph (c) above, this Stipulation or

 the Final Order and Judgment shall limit or bar claims that do not seek recovery for the

 Settling Defendant's actual or threatened liability to the Lead Plaintiffs or any Settlement

 Class Member in connection with the Action, including but not limited to, the claims

 asserted by the THL Funds in the following actions: (i) Thomas H. Lee Equity Fund V.

 L.P., et al. v. Philip R. Bennett, e/ al., 05 Civ. 9608 (JSR) (S.D.N.Y) and (ii) Thomas H.

 Lee Equity Fund V. L.P., et al. v. Grant Thornton LLP, 07 Civ. 8663 (JSR) (S.D.N.Y)

           8.4       With respect to the use of the term "Unknown" in connection with the

Released Claims:

                     (a)       the Settling Parties and the Releasing Persons specifically

acknowledge that the term "Unknown" in the definition of Released Claims includes

claims that each of the Releasing Persons currently does not know or suspect to exist at

the time he, she or it executes the release, but which, if known by him, her or it, might

affect rus, her or its agreement to execute or grant the release or might affect a decision

with respect to the Settlement (including the decision to object or not to object to the

Settlement);



US_ACTIVE:14J640456\OJ\77J56.0064                   27
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 28 of 103
Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11      Page 29 of 50




                      (b)       the Settling Parties and the Releasing Persons expressly

 acknowledge that they may hereafter discover facts in addition to or different from those

 that he, she or it now knows or believes to be true with respect to the subject matter of the

 Released Claims, but that it is nevertheless his, her or its intention to fully, finally and

 forever settle and release the Released Claims, including those Unknown as that term is

 employed in this Section, and will be deemed to have done so by operation of the Order

 and Final Judgment; and

                      (c)        the Settling Parties and the Releasing Persons expressly

 acknowledge that the inclusion of "Unknown" claims as defined herein was separately

 bargained for and was a key element of the Settlement (of which the releases provided

 herein are a material and essential part) and each expressly waives and relinquishes to the

 fullest extent permitted by law, and shall be deemed by operation of the Final Order and

 Judgment to have waived and relinquished, the benefits of: (i) the provisions, rights and

 benefits of Section 1542 of the California Civil Code, which provides as follows:

                      A general release does not extend to claims, which the
                      creditor does not know or suspect to exist in his or her
                      favor at the time of executing the release, which if known
                      by him or her must have materially affected his or her
                      settlement with the debtor.

 and (ii) any and all provisions or rights conferred by any law of any state or territory of

 the United States or principle of common law, which is similar, comparable or equivalent

 to Section 1542 of the California Civil Code.

           8.5        All Settlement Class Members shall be bound by the terms of the releases

 set forth in this Stipulation.




us_ACTIVE:'.4J64045610JI77356.0064                   28
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 29 of 103
Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11      Page 30 of 50




           8.6       Notwithstanding anything to the contrary above, the Released Claims do

 not include claims to enforce the Final Order and Judgment and the Settlement, and any

 or all of their terms, including but not limited to the releases provided for in the Final

 Order and Judgment.

 9.        Termination

           9.1       The Settling Defendants and Lead Plaintiffs (on behalf of themselves and

 the Settlement Class) shall each have the unilateral right to terminate the Settlement and

 this Stipulation by providing written notice oftheir election to do so to counsel for the

 other Settling Parties within ten (l0) business days of any of the following events

 ("Termination Notice"):

                     (a)        the Court's declining to enter the Preliminary Approval Order

 substantially in the form attached hereto as Exhibit A in any material respect;

                     (b)        the Court's refusal to approve this Stipulation or the Court's

 modification of it in any material respect (including, without limitation, by making any

 modifications or changes to the releases set forth in Section 8 herein or refusing to

 provide for a bar order consistent with the PSLRA);

                     (c)        the Court's refusal to enter the Final Order and Judgment

 substantially in the form attached hereto as Exhibit B or the Court's modification of the

 Final Order and Judgment in any material respect (including, without limitation, by

 making any modifications or changes to the releases set forth in Section 8 herein or

 refusing to provide for a bar order consistent with the PSLRA);

                     (d)       the date upon which the Final Order and Judgment is modified or

reversed in any material respect (including, without limitation, any modifications or


uS_AcrrvE:\43640456103177356.0064                    29
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 30 of 103
Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11      Page 31 of 50




 changes to the releases set forth in Section 8 herein or refusing to provide for a bar order

 consistent with the PSLRA) by the United States Court of Appeals or the Supreme Court

 of the United States; or

                     (e)        if the Court enters an Alternative Judgment, and none of the parties

 hereto elects to terminate this Settlement, the date upon which such Alternative Judgment

 is modified or reversed in any material respect by the United States Court of Appeals or

 the Supreme Court of the United States.

           9.2       If the Stipulation is terminated, the Settlement is not approved by the

 Court andJor the Effective Date does not occur or the Settlement otherwise fails for any

 reason:

                     (a)        in the event of the THL Defendants' written notification to Lead

 Plaintiffs of their intent to consummate the global settlement pursuant to Paragraph II.V.3

 of the Global Settlement, Lead Plaintiffs agree that they will inunediately seek judicial

 permission to withdraw as class representatives and shall voluntarily dismiss with

 prejudice their claims against the THL Defendants in this Action;

                     (b)        subject to subsection Section 9.2(a) hereof, the Settlement shall

 otherwise be null. void and without prejudice and none of its terms shall have any further

 force or effect or be enforceable except as specifically provided herein;

                     (c)       the conditional certification ofthe Action as a class action shall be

 null and void and the Settling Defendants shall have the full and complete right and

 ability in any future proceedings in this Court to oppose certification of any putative class

and defend the claims asserted in the Complaint on the merits; and




US_ACTlVE;\43640456\03\77356.0064                    30
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 31 of 103
Case 1:06-cv-00643-GEL Document 305-1                           Filed 07/14/11      Page 32 of 50




                     (d)       the fact of and the terms of this Stipulation shall not be admissible

in any trial of this Action.

           9.3       The provisions of and obligations in Paragraph 9.2 above shall survive and

remain in full force and effect and be binding in all respects on the Settling Parties even if

the Stipulation is terminated, the Settlement is not approved and/or the Effective Date

does not occur.

 10.       No Admissions

           10.1      Whether or not the Settlement is approved by the Court and whether or not

the Settlement is consummated, the fact and terms of the Settlement and this Stipulation

 (including all exhibits hereto), as well as all negotiations, discussions, acts performed,

 agreements, drafts, documents signed and proceedings in connection with the Settlement:

                     (a)        shaH not be described as, construed as, interpreted as, or offered or

 received against any of the Settling Defendants as evidence of and/or deemed to be

 evidence of any presumption, concession or admission by any of the Settling Defendants

as to: (i) the truth of any fact alleged in the Complaint; (ii) the validity of any claim that

has been or could have been asserted in the Action or in any other litigation; (iii) the

deficiency of any defense that has been or could have been asserted in the Action or in

any other litigation; and/or (iv) any liability, negligence, fault, or wrongdoing on their

part;

                     (b)       shall not be described as, construed as, interpreted as or offered or

received against Lead Plaintiffs or any Settlement Class Member as evidence of any

infirmity in the claims of said Lead Plaintiffs and the Settlement Class;




US_ACTfVE;\43640456103177356.0064                    31
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 32 of 103
Case 1:06-cv-00643-GEL Document 305-1                            Filed 07/14/11      Page 33 of 50




                     (c)        shall not be described as, construed as, interpreted as, offered or

received against any of the Settling Defendants, Lead Plaintiffs andlor any Settlement

 Class Member as an admission or concession that the consideration to be given in the

 Settlement represents the amount which could be or would have been awarded to said

 Lead Plaintiffs or Settlement Class Members after trial; and

                     (d)        shall not be offered or received against any of the Settling Parties

 in any other civil, criminal or administrative action or proceeding, except in connection

 with any action, litigation or proceeding to enforce the terms of this Stipulation.

           10.2      Notwithstanding subparagraph 10.1 above, any of the Released Persons

 may file, cite andlor refer to the StipUlation, the Notice and Settlement Hearing Order, the

 Final Order and Judgment and any Alternative Judgment in any other action or

 proceeding that may be brought against them in any forum in order to effectuate the

 liability protection granted hereunder or to support a defense or counterclaim based on

principles of res judicata, collateral estoppel, release and discharge, good faith settlement,

judgment bar or reduction, any theory of claim preclusion or issue preclusion or any

similar defense or counterclaim.

           10.3      The provisions of and obligations in Paragraph 10.1 shall survive and

remain in full force and effect and be binding in all respects on the Settling Parties even if

the Stipulation is terminated, the Settlement is not approved andlor the Effective Date

does not occur.

lIt       Miscellaneous Provisions

           11.1      The Stipulation shall be binding when signed by all parties hereto but the

Settlement shall be effective and final only upon occurrence of the Effective Date.


US_ACTlVE:143640456I03\77356.0064                    32
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 33 of 103
Case 1:06-cv-00643-GEL Document 305-1                         Filed 07/14/11      Page 34 of 50




           11.2      The Settling Parties agree that the terms of this Stipulation and the fact

 that it has been executed are strictly confidential until this Stipulation has been filed with

 the Court, except to the extent required by law or as mutually agreed to by the Settling

 Parties hereto in writing. Lead Plaintiffs and Lead Plaintiffs' Counsel shall not make any

 public statements or statements to the media (whether or not for attribution) that

 disparage the business, conduct or reputation of any of the Settling Defendants based on

 the subject matter of the Securities Action, provided that this sentence does not apply to

 statements in any judicial proceeding. The Settling Defendants and their counsel shall

 not make any public statements or statements to the media (whether or not for attribution)

 that disparage the business, conduct or reputation of Lead Plaintiffs based on the subject

 matter of the Securities Action, provided that this sentence does not apply to statements

 in any judicial proceeding. In all events, Lead Plaintiffs and Settling Defendants and

 their respective counsel shall not make any accusations of wrongful or actionable conduct

 by the other side concerning the prosecution, defense and resolution of the Action, and

 shall not otheIWise suggest that the Settlement constitutes an admission as to any claim or

 defense alleged. The obligations in this Paragraph shall survive and remain in full force

 and effect and be binding on the Settling Parties even if the Stipulation is terminated, the

 Settlement is not approved and/or the Effective Date does not occur.

           11.3      Lead Plaintiffs' Counsel and Settling Defendants' Counsel agree to

cooperate fully with each other in seeking Court approval of the Settlement and to agree

promptly upon and execute all additional documentation that may reasonably be required

to obtain Court approval. Without further order of the Court, the Settling Parties may




US_ACTIVE:\4364Q456\03\77356.0064                 33
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 34 of 103
Case 1:06-cv-00643-GEL Document 305-1                          Filed 07/14/11      Page 35 of 50




 agree to reasonable extensions of time to carry out any of the provisions of this

 Stipulation.

            11.4      This Stipulation and the exhibits hereto constitute the entire agreement and

 understanding of the Settling Parties, and supersede any prior agreements or

 understandings between the parties with respect to the Settlement. In entering into this

 Stipulation, none of the Settling Parties is relying on any promise, warranty, inducement

 or representation other than those set forth in this Stipulation and the Settling Parties

 disclaim the existence of any such promise, warranty, inducement or representation.

            11.5      All agreements made and orders entered during the course of this Action

 relating to the confidentiality of documents and information shall survive this Stipulation

 and the Effective Date pursuant to their terms unless otherwise modified by the Court.

            11.6      All of the exhibits attached to this StipUlation are material and integral

 parts hereof and are hereby incorporated by reference as though fully set forth herein.

 This Stipulation, including the exhibits to this Stipulation, may not be amended or

 modified except in a writing signed by all counsel who have executed this Stipulation.

 Any condition contained in this Stipulation may be waived by the party entitled to

 enforce the condition in a writing signed by that party or his, her or its counsel. The

 waiver by any party of any breach of this Stipulation by any other party shall not be

 deemed a waiver of the breach by any other party or a waiver of any other prior or

 subsequent breach of this Stipulation by that party or any other party.

           11.7       The construction, interpretation, operation, effect and validity of this

 StipUlation (and all documents necessary to effectuate it) shall be governed by and

 construed according to the internal laws of the State of New York without regard to the


us _ACTfYE:143640456\03\773Sti.OO64                34
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 35 of 103
Case 1:06-cv-00643-GEL Document 305-1                        Filed 07/14/11      Page 36 of 50




 conflict of law rules, except to the extent that federal law requires that federal law

 governs.

           11.8      This Stipulation is the result of anns' -length negotiations between the

 parties and all parties have contributed substantially and materially to the preparation of

 this Stipulation. This Stipulation shall not be construed more strictly against one party

 than another merely by virtue of the fact that the Stipulation or a particular provision or

 paragraph of the Stipulation may have been prepared by counsel for a particular party.

           11.9      The section headings used throughout this StipUlation (and the exhibits)

 are for convenience only and shall not affect the interpretation or construction of this

 Stipulation. This Stipulation may be executed in one or more counterparts.

           11.10 This Stipulation shall be binding upon and inure to the benefit of the heirs,

 successors and assigns of the Settling Parties.

           11.11 The administration and consummation of the Settlement shall be under the

 authority of the Court and the Court shall retain jurisdiction with respect to the

 implementation and enforcement of the terms of this Stipulation.

           11.12 All counsel executing this StipUlation and any related settlement

 documents warrant and represent that they have the full authority to do so and that they

 have the authority to take appropriate action required or permitted to be taken pursuant to

 the Stipulation to effectuate its terms.




US_ACTlVE:143640456103177356.0064                35
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 36 of 103
 Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 37 of 50




Dated: New York, New York
         February 28,2011


MTI.BANK. TWEED, HADLEY                 WEIL, GOTSHAL & MANGES LLP
& MCCLOYLLP


By:      ~_/--------
   Scott Edelman                           Greg A, DaniJow
   SanderBak                               Seth Goodchi Id
1 Chase Manhattan Plaza                 767 Fifth Avenue
New York, NY 10005                      New York. NY 10153
212-530-5000 (Telephone)                212-310-8000 (Telephone)
212-530-5219 (Fax)                      2]2-310-8007 (Fax)


and                                         and

KIRBY MCINERNEY LLP                         PAUL, WEISS, RIFKIND, WHARTON &
                                            GARRISON LLP



BY:2A~""'"                                  By: _____________________
                                               Richard A. Rosen
      Richard L. Stone
      Mark A. Strauss                       1285 Avenue ofthe Americas
830 Third Avenue                            New York, NY 10019
New York, NY 10022                          212-373-3000 (Telephone)
212-371-6600                                212-757-3990 (Fax)
212-751-2540
Attomeysfor Lead Plaim~ff$ Global           Attorneysfor the Settling Defendants
Management Worldwide Limited, Arhat
Equity Arbitrage Fund Limited, and
Russian Investors Securities Limited




                                       36
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 37 of 103
 Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 38 of 50




  Dated: New York, New York
         February 28, 2011


  MILBANK, TWEED, HADLEY                        WElL, GOTSHAL & MANGES LLP
  & MCCLOY LLP


  By: ______________________
     Scott Edelman
                                                By:   Cr:"
                                                   Greg A~tianilow
                                                                  UJ\;
     Sander Bak                                    Seth Goodchild
  1 Chase Manhattan Plaza                       767 Fifth Avenue
  New York, NY 10005                            New York, NY 10153
  212-530-5000 (Telephone)                      212-310-8000 (Telephone)
  212-530-5219 (Fax)                            212-310-8007 (Fax)


  and                                           and

  KIRBY MCINERNEY LLP                           PAUL, WEISS, RIFKIND, WHARTON &
                                                GARRISON LLP


                                                By: ______________________
  By:
      Richard L. Stone                             Richard A. Rosen
      Mark A. Strauss                           1285 Avenue of the Americas
  830 Third Avenue                              New York, NY ]0019
  New York, NY J0022                            212-373-3000 (Telephone)
  212-37 J -6600                                212-757-3990 (Fax)
  212-751-2540
  Attorneys for Lead Plaintiffs Global          Atlorneys for the Settling Defendants
  Management Worldwide Limited, Arbat
  Equity Arbitrage Fund Limited, and
  Rus.!fian investors Securities Limited




                                           36
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 38 of 103
Case 1:06-cv-00643-GEL Document 305-1                      Filed 07/14/11       Page 39 of 50




   Dated: New York, New York
          February 28, 2011


   MILBANK, TWEED, HADLEY                       WElL, GOTSHAL & MANGES LLP
   &MCCLOYLlP


   By: _____________________                    By: ____________________
      Scott Edelman                                Greg A. Danilow
      SanderBak:                                   Seth Goodchild
   1 Chase Manhattan Plaza                      767 Fifth Avenue
   New York. NY 10005                           New¥ork, NY 10153
   212-530-5000 (felephone)                     212-310-8000 (felephone)
   212-530-5219 (Fax)                           212-310~8007 (Fax)




   and                                          and

   KIRBY MCINERNEY LLP                          PAUL, WEISS, R1FKlND, WHARTON &
                                                GARRISON UP


   By:   ~,..----:-::-~
       Richard L. Stone
                          _ _ _ _ _ _ __        By@!ktl4e­
                                                   Richard A. Rosen
       Mark A. Strauss                          1285 Avenue of the Americas
   830 Third Avenue                             New York, NY 10019
   New York, NY 10022                           212-373-3000 (felephone)
   212-371-6600                                 212-757-3990 (Fax)
   212-751-2540
   Attorneys for Lead Plaintiffs Global         Attorneys for the Settling Defendants
   Management Worldwide Limited, Arbat
   Equity Arbitrage Fund Limited. and
   Russian lrrvestors Securities Limited




                                           36
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 39 of 103
Case 1:06-cv-00643-GEL Document 305-1   Filed 07/14/11   Page 40 of 50




                 Exhibit A
         Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 40 of 103
          Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 41 of 50




                                    UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------------­ x
   In re REFCO CAPITAL MARKETS, LTD.                                  06-Civ.-0643 (JSR)
   BROKERAGE CUSTOMER SECURITIES                                      08-Civ-6l67 (2d Cir.)
   LITIGATION

   -------------------------------------------------------------- x

                        [PROPOSED) ORDER PRELIMINARILY APPROVING
                              PROPOSED PARTIAL SETTLEMENT

                    WHEREAS, a consolidated class action entitled In re Refco Capital Markets, Ltd.

   Brokerage Customer Securities Litigation, No. 06 Civ. 0643 (JSR) (S.D.N. Y.) (the "Action")

   was commenced in this Court, subsequently dismissed with prejudice in this Court and is

   currently pending in the United States Court of Appeals for the Second Circuit;

                    WHEREAS, Lead Plaintiffs Global Management Worldwide Limited, Arbat

   Equity Arbitrage Fund Limited and Russian Investors Securities Limited ("Lead Plaintiffs"), on

   behalf of themselves and the class of persons and entities defined below, and Defendants

   Thomas H. Lee Equity Fund V, L.P., Thomas H. Lee Parallel Fund V, L.P., Thomas H. Lee

   Equity (Cayman) Fund V, L.P., Thomas H. Lee Partners, L.P., THL Equity Advisors V, LLC,

   THL Managers V, LLC, Thomas H. Lee Advisors, LLC, Thomas H. Lee Investors Limited

   Partnership, The 1997 Thomas H. Lee Nominee Trust, Thomas H. Lee, David V. Harkins, Scott

   L. Jaeckel and Scott A. Schoen (the "Settling Defendants" and, together with the Lead Plaintiffs,

   the "Settling Parties"), have determined to settle all claims asserted against the Settling

   Defendants in this Action with prejudice on the terms and conditions set forth in the Stipulation

   and Agreement ofSeUlement, dated February 28, 2011 (the "Stipulation"), subject to the

   approval of this Court (the "Settlement"); and




                                                      2


----------------------.­
      Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 41 of 103
      Case 1:06-cv-00643-GEL Document 305-1                Filed 07/14/11     Page 42 of 50




               WHEREAS, the Lead Plaintiffs have made an application, pursuant to Rule 23 of

the Federal Rules of Civil Procedure, for an order preliminarily approving the Settlement in

accordance with the Stipulation, preliminarily certifying a Settlement Class for purposes of the

Settlement and allowing notice to the Settlement Class Members as more fully described herein;

and

               WHEREAS, the Court having read and considered: (a) the Second Amended

Consolidated Class Action Complaint, filed in this Action on December 21, 2007; (b) Lead

Plaintiffs' motion for preliminary approval of the Settlement and the papers filed and arguments

made in support thereof; and (c) the Stipulation by and between Lead Plaintiffs and the Settling

Defendants and the exhibits attached thereto; and

               WHEREAS, the capitalized words and tenns shall have the same meaning as they

have in the Stipulation (certain of which are repeated herein for ease of reference only);

               NOW, THEREFORE, IT IS HEREBY ORDERED:

        1.     Preliminary Class Certification for Settlement Purposes         Pursuant to Rule

23(a) and (b)(1) of the Federal Rules of Civil Procedure, the Court preliminarily certifies, solely

for purposes of the StipUlation and effectuating the proposed Settlement, a Settlement Class

consisting of all securities brokerage customers of Refco Capital Markets Ltd. ("RCM") who: (i)

at any time from October 17,2000 to October 17,2005 (the "Class Period"'), placed securities

with or held securities at RCM and/or Refco Securities, LLC ("RSL"), directly or indirectly, as

custodian or broker for safe-keeping, trading or other purposes, and continued to hold positions

with RCM on October 17, 2005 or thereafter; and (ii) who elected to contribute the proceeds of

their claims to the Refco Private Action Trust. Excluded from the Settlement Class arc: (a)

Refco; (b) the Defendants; (c) officers and directors of Refco and the Defendants; (d) members




                                            3
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 42 of 103
      Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 43 of 50



of the Defendants' immediate families; (e) entities in which Refco or any Defendant has a

controlling interest; and (t) the legal representatives, heirs, successors or assigns of any of the

foregoing excluded persons or entities. lfthe proposed Settlement is telTIlinated for any reason

or final approval is not granted by the Court, this preliminary certification of the Action as a

class action shall be automatically vacated.

         2.    Class Findings - Solely for purposes of the proposed Settlement of this Action as

against the Settling Defendants (and without any adjudication on the merits), the Court

preliminarily finds that each element required for certification of the Settlement Class pursuant

to Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the members ofthe

Settlement Class are so numerous that their joinder in the Action would be impracticable; (b)

there are questions of law and fact common to the Settlement Class which predominate over any

individual questions; (c) the claims of Lead Plaintiffs in the Action are typical of the claims of

the Settlement Class; (d) Lead Plaintiffs and their counsel, Milbank, Tweed, Hadley & McCloy

LLP and Kirby McInerney & Squire, LLP ("Lead Plaintiffs' Counsel") have fairly and

adequately represented and protected the interests of the Settlement Class; and (e) a class action

is superior to other available methods for the fair and efficient adjudication of the Action.

         3.    Preliminary Approval of Proposed Settlement - The Court hereby

preliminarily approves the proposed Settlement, as embodied in the Stipulation (including the

releases set forth therein), as being fair, reasonable and adequate and in the best interests of the

Settlement Class, subject to further consideration at a hearing to be conducted as described

below.

         4.    Settlement Hearing - The Court will hold a settlement hearing (the "Settlement

Hearing") on                  _,2011 at _:__.m. in Courtroom 14B of the United States




                                               4
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 43 of 103
      Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 44 of 50



District Court for the Southern District of New York, 500 Pearl Street, New York, NY 10007, for

the following purposes: (a) to determine whether the proposed Settlement on the terms and

conditions provided for in the Stipulation is fair, reasonable, adequate and in the best interests of

the Settlement Class and should be approved by the Court; (b) to determine whether the

Settlement Class should be finally certified for purposes of the Settlement; (c) to determine

whethcr a Final Order and Judgment substantially in the form attached as Exhibit B to the

Stipulation should be entered dismissing the Action with prejudice against the Settling

Defendants; and (d) to consider any other matters that may properly be brought before the Court

in connection with the Settlement. Notice of the Settlement and thc Settlemcnt Hearing shall bc

givcn to Scttlcment Class Members as set forth in Paragraph 6 of this Ordcr.

       5.      The Court may adjourn the Settlement Hearing and approve the proposed

Settlement with sueh modifications that the Settling Parties may agree to, if appropriate, without

further notice to the Settlement Class.

       6.      Manner of Notice - Notice of the Settlement and the Settlement Hearing shaH be

given by Lead Plaintiffs' Counsel as follows:

               (a)     not later than _ _ _ _.~__, 2011 (the "Notice Date"), Lead

Plaintiffs' Counsel shall cause a copy of the Notice, substantiaHy in the form attached hereto as

Exhibit A-I, to be mailed by first-class mail to all Settlement Class Members who can be

identified with reasonable effort; and

               (b)     not later than seven (7) calendar days prior to the Settlement Hearing,

Lead Plaintiffs' Counsel shall serve on counsel for the Settling Defendants and file with the

Court proofby affidavit or declaration of such mailing.




                                             5
          Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 44 of 103
           Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 45 of 50



            7.      Approval of Form and Content of Notice          The Court: (a) approves, as to the

     form and content, the Notice attached hereto as Exhibit A-l; and (b) finds that the mailing and

     distribution of the Notice in the manner and form set forth in Paragraph 6 of this Order: (i) is the

     best notice reasonably practicable under the circumstances; (ii) constitutes notice that is

     reasonably calculated, under the circumstances, to apprise the Settlement Class Members of the

     pendency of the Action, of the effect of the proposed Settlement (including the releases

     contained therein) and of their rights to object to the proposed Settlement and appear at the

     Settlement Hearing; (iii) constitutes due, adequate and suftlcient notice to all persons and entities

     entitled to receive notice of the proposed Settlement; and (iv) satisfies the requirements of Rule

     23 of the Federal Rules of Civil Procedure, the United States Constitution (including the Due

     Process Clause), the Private Securities Litigation Reform Act of 1995 (15 U.S. C. § 78u-4, et seq.)

     (the "PSLRA"), and all other applicable law and rules. The date and time of the Settlement

     Hearing shall be included in the Notice before it is mailed.

            8.      Appearance and Objections to the Proposed Settlement - Any Settlement

     Class Member may enter an appearance in the Action, at his, her or its own expense, individually

     or through counsel of his, her or its own choice by filing with the Clerk of Court and delivering a

     notice of appearance to both Lead Plaintiffs' Counsel and the Settling Defendants' Counsel listed

     in the Notice such that it is received no later than twenty (20) calendar days prior to the

     Settlement Hearing, or as the Court may otherwise direct. Any Settlement Class Member who

     does not enter an appearance will be represented by Lead Plaintiffs' Counsel. Any member of

     the Settlement Class may file a written objection to the proposed Settlement and appear and

     show cause, if he, she or it has any cause, why the proposed Settlement should not be approved;

     provided, however, that no Settlement Class Member shall be heard or entitled to contest the




                                                  6


------'---.----------~
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 45 of 103
     Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 46 of 50




approval of the terms and conditions of the proposed Settlement unless that person or entity has

filed written objections with the Court and served copies of such objections in the manner

provided in the Notice such that it is received no later than twenty (20) calendar days prior to the

Settlement Hearing on:

               Greg A. Danilow
               Weil Gotshal & Manges LLP
               767 Fifth Avenue
               New York, NY 10153

               Richard A. Rosen
               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, NY 10019

               Scott Edelman
               Milbank, Tweed, Hadley & McCloy LLP
               One Chase Manhattan Plaza
               New York, NY 10005

               Richard L. Stone
               Kirby Mcinerny LLP
               830 Third Avenue
               New York, NY 10022

       9.      Any objections, filings and other submissions by the objecting Settlement Class

Member must contain a statement of his, her or its objection, as well as the specific reasons, if

any, for each objection, including the legal and evidentiary support the Settlement Class Member

wishes to bring to the Court's attention.

        10.    Any member of the Settlement Class who does not make his, her or its objection

in the manner provided herein shall be deemed to have waived his, her or its right to object to the

Settlement and shall forever be barred and foreclosed from objecting to the fairness,

reasonableness or adequacy of the proposed Settlement, or from otherwise being heard

concerning the Settlement in this or any other proceeding.




                                             7
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 46 of 103
       Case 1:06-cv-00643-GEL Document 305-1                Filed 07/14/11     Page 47 of 50




        11.    Stay    Until otherwise ordered by the Court, the Court stays all proceedings in the

Action involving the Settling Defendants, other than proceedings necessary to carry out or

enforce the terms and conditions of the Stipulation. Pending the Settlement Hearing, the Court

enjoins Lead Plaintiffs and all Settlement Class Members from commencing or prosecuting,

either directly, indirectly, representatively or in any other capacity, any and all of the Released

Plaintiffs' Claims against each and all of the Released Defendant Persons.

        12.    Fees and Expenses       All reasonable costs incurred in identifying and notifying

Settlement Class Members shall be paid as set forth in the Stipulation.

        13.    Termination of Settlement - If the Stipulation is terminated, the Settlement is

not approved or the Effective Date does not occur, this Order shall become null and void and be

without prejudice to the rights of Lead Plaintiffs, the Settlement Class Members and the Settling

Defendants, all of whom shall be restored to their respective positions in the Action as of January

13,2011.

        14.    Use of this Order -This Order, the proposed Settlement, the Stipulation and any

and all of their terms (and all negotiations, discussions and proceedings in connection therewith):

(a) shall not be offered or received in evidence or used for any other purpose in this or any other

proceeding in any court, administrative agency, arbitration forum, or other tribunal other than as

may be necessary to enforce the terms of this Order and/or the proposed Settlement; (b) shall not

be described as, construed as, interpreted as or offered or received against any of the Settling

Defendants as evidence of and/or deemed to be evidence of any presumption, concession, or

admission by the Settling Defendants as to any liability, negligence, fault, wrongdoing on their

part or the validity of any claim by Lead Plaintiffs or the merits of any of their defenses; and (c)

shall not be described as, construed as, interpreted as, or offered or received against Lead




                                              8
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 47 of 103
      Case 1:06-cv-00643-GEL Document 305-1 Filed 07/14/11 Page 48 of 50




Plaintiffs or any Settlement Class Member as evidence of any infirmity in thc claims of said

Lead Plaintiffs and the Settlement Class;

       15.     Supporting Papers      Lead Plaintiffs' Counsel shall file and serve papers in

support of the proposed Settlement no later than twenty-one (21) calendar days prior to the

Settlement Hearing; if reply papers are necessary, they are to be filed and served no latcr than

seven (7) calendar days prior to the Settlement Hearing.

       16.     The Court retains jurisdiction to consider all further applications arising out of the

proposed Settlement.



SO ORDERED this _ _ day            ________, 2011




                                                     The Honorable Jed S. Rakoff
                                                     United States District Judge




                                            9


----------------~~~~--.-~
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 48 of 103
Case 1:06-cv-00643-GEL Document 305-1   Filed 07/14/11   Page 49 of 50




              Exhibit A-I
    Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 49 of 103
    Case 1:06-cv-00643-GEL Document 305-1                         Filed 07/14/11    Page 50 of 50




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re REFCO CAPrT AL MARKETS, LTD.                                06 Civ. 0643 (JSR)
BROKERAGE CUSTOMER                                                08 Civ. 6167 (2d Cif.)
SECURITIES LITIGATION

--------------------------------------------------------------x
      NOTICE OF (I) PROPOSED SETTLEMENT OF CLASS ACTION WITH
     THE THL DEFENDANTS, (II) HEARING ON PROPOSED SETTLEMENT

If you were a securities-brokerage customer of Refco Capital Markets, Ltd.
("RCM") who placed securities with or held securities at RCM or Refco Securities,
LLC directly or indirectly, as custodian or broker for safe-keeping, trading or other
purposes during the period October 17, 2000 to October 17, 2005; continued to hold
positions with RCM on or after October 17, 2005; and elected to contribute the
proceeds of your claims in the above-captioned case (the "Action") to the Refco
Private Actions Trust established in connection with the Modified Joint Chapter 11
Plan of Refco Inc. and Certain of its Direct and Indirect Subsidiaries (the '~Refco
Chapter 11 Plan"), you might be a member of the settlement class in this Action
making you eligible for relief in connection with a partial settlement of the Action.

        A federal court authorized this Notice. This is not a solicitation from a lawyer.

•    This notice relates to a securities class action brought by RCM customers who claim
     that the securities they held at RCM were misappropriated as a result of false
     statements, non-disclosures and fraudulent conduct in violation of the federal
     securities laws. The Action was dismissed with prejudice by the Court on August 28,
     2008. Lead Plaintiffs appealed the Court's dismissal of the Action to the United
     States Court of Appeals for the Second Circuit. No decision has yet been rendered on
     the appeal.

•    On              , 2011, the Court preliminarily approved a partial settlement of this
     Action (the "Settlement") between the Court-appointed Lead Plaintiffs Global
     Management Worldwide Limited, Arbat Equity Arbitrage Fund Limited and Russian
     Investors Securities Limited ("Lead Plaintiffs") and Defendants Thomas H. Lee
     Equity Fund Y, L.P., Thomas H. Lee Parallel Fund Y, L.P., and Thomas H. Lee
     Equity (Cayman) Fund Y, L.P. (the "THL Funds"); Thomas H. Lee Partners, L.P.
     ("THLP"), THL Managers Y, LLC, Thomas H. Lee Equity Advisors Y, LLC,
     Thomas H. Lee Advisors, LLC, Thomas H. Lee Investors Limited Partnership and
     The 1997 Thomas H. Lee Nominee Trust (collectively, the "THL Entities"); and
     Thomas H. Lee, David Y. Harkins, Scott L. Jaeckel and Scott A. Schoen
     (collectively, the "Individual THL Defendants" and together with the THL Entities
                                                     2
    Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 50 of 103
     Case 1:06-cv-00643-GEL Document 305-2                Filed 07/14/11    Page 1 of 54




     and the THL Funds, the "THL Defendants"). The THL Defendants are referred to
     herein as the "Settling Defendants" and, together with Lead Plaintiffs, the "Settling
     Parties."

•    The Refco Chapter 11 Plan established two litigation trusts (the "Trusts") to pursue
     potential claims against third parties. The first trust, the Refco Litigation Trust, was
     established to pursue claims belonging to Refco or its affiliates. The Refco Litigation
     Trust commenced an action against the Settling Defendants entitled Kirschner v.
     Thomas H. Lee Partners, LP, et aI, No. 07 Civ. 7074 (JSR) (S.D.N.Y.) (the "Refco­
     THL Estate Litigation"). The beneficiaries of the Refco Litigation Trust include each
     Settlement Class Member, as customers and creditors of Refco, as well as other
     general unsecured creditors of Refco entities.

•    The second trust, the Refco Private Actions Trust, was established so that creditors
     and customers of Refco and its affiliates could contribute any claims they may have
     individually against third parties (or recoveries under such claims) to a single entity to
     pursue. All the Settlement Class Members, as well as the vast majority of the other
     beneficiaries of the Refco Litigation Trust, have contributed their individual claims to
     the Refco Private Actions Trust (except that with respect to securities fraud claims
     asserted in the Action, among others, only the rights to proceeds of such claims were
     contributed) and are, therefore, beneficiaries of the Refco Private Actions Trust.
     Recoveries in the Action are among the proceeds contributed to the Refco Private
     Actions Trust. Marc S. Kirschner serves as Trustee (the "Trustee") for both the Refco
     Litigation Trust and the Refco Private Actions Trust.

•    Following arms' -length negotiations -­ including two mediation sessions and
     extensive discussions between counsel for the Settling Parties -­ Lead Plaintiffs and
     the Settling Defendants entered into a Settlement Agreement and General Release,
     dated as of February 28, 20 II (the "Global Settlement"), providing for a global
     settlement of the Refco-THL Estate Action under which the Settling Defendants will
     make a payment of $145 million to the Refco Litigation Trust to settle the statutory
     avoidance claims specified in Counts I, II and III of the First Amended Complaint,
     filed on or about December 4, 2009, in the Refco-THL Estate Action (the "First
     Amended Complaint").

•    The Global Settlement provides for dismissal with prejudice of all claims in the
     Refco-THL Estate Action, as well as all claims against the Settling Defendants in this
     Action and the following Refco-Related Actions: (i) Capital ~Management Select
     Fund Ltd., et al. v. Bennett, et at., No. 08 Civ. 6166 (2d Cir.); Oi) VR Global Partners
     LP, et al. v. Bennett, et al., No. 08 Civ. 6230 (2d Cir.); and (iii) Capital Management
     Select Fund Ltd.. et al. v. Bennett, et ai.. No. 08 Civ. 09810 (JSR) (S.D.N. Y.).

•    As a result of the Global Settlement, the Trustee will receive gross settlement
     proceeds of $145 million which he shall distribute. Pursuant to the Refco Private

                                              3
    Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 51 of 103
     Case 1:06-cv-00643-GEL Document 305-2                   Filed 07/14/11      Page 2 of 54




     Actions Trust Agreement, proceeds from the Global Settlement are to be shared
     equally between the Trusts. This has been the practice with prior distributions.

•    The terms of the Settlement are set forth in the Stipulation and Agreement of
     Settlement entered into by Lead Plaintiffs and the Settling Defendants, dated
     February 28, 20 II (the "Stipulation,,).l

•    The Settlement, if approved, will resolve all claims between the members of the
     proposed Settlement Class and the Settling Defendants, but it is only a partial
     settlement of this Action; it does not resolve the claims against other defendants
     against whom the Action remains pending (the "Remaining Defendants"). The
     Remaining Defendants are Phillip Bennett, Santo Maggio, Tone Grant, Robert
     Trosten and Richard Outridge.

•    If the Settlement is approved, the amount to be distributed to the Settlement Class, in
     the aggregate, will be approximately $40 million. Each Settlement Class Member, as
     a beneficiary of both the Refco Litigation Trust and the Refco Private Actions Trust,
     will be entitled to receive its pro-rata share of the distribution in accordance with its
     interests in the Trusts. If you have any questions regarding your interests in the
     Trusts, please contact the Refco Estate at (201) 587-7195 or e-mail your questions to
     refcoinc@capstoneag.com.

•    As part of the Global Settlement, the Settling Defendants ascribe no monetary value
     to this Action. Although Lead Plaintiffs' Counsel do not agree with the Settling
     Defendants' position, they have concluded that it is not necessary to reach a
     conclusion about the value of the Action because, pursuant to the Refco Private
     Actions Trust Agreement and the Trusts' practice with prior distributions, proceeds
     from any settlement of claims involving both the Refco Litigation Trust and the
     Refco Private Actions Trust are to be shared equally between the Trusts.

•    Whether or not any amount of the Global Settlement is being paid in connection
     with this Action is irrelevant to the determination of the amount to be received
     by each Settlement Class Member.

•    If the Settlement is not approved, the Settling Defendants have the right to terminate
     the Global Settlement. Jfthe Global Settlement is terminated, the Settling Defendants
     will not be obligated to make the $145 million payment and members of the
     Settlement Class will not receive the distribution of approximately $40 million
     described above. If the Settlement is not approved but the Settling Defendants do not
     terminate the Global Settlement, the Settlement Class will receive the distribution

I All capitalized words or terms, not otherwise defined herein, shall have the meaning as set forth
in the Stipulation.



                                                 4
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 52 of 103
      Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 3 of 54




      described above. However, any amounts subsequently recovered against the Settling
      Defendants in the Action will not be distributed to the members of the class. Instead,
      those amounts will be returned to the Settling Defendants.

 •    Lead Plaintiffs' Counsel has concluded that the terms and conditions of the
      Settlement provided for in this StipUlation are fair, reasonable, adequate and in the
      best interests of the Settlement Class. Lead Plaintiffs' Counsel accordingly has
      recommended the Settlement to Lead Plaintiffs and the Settlement Class Members.

 •    Lead Plaintiffs' Counsel are not asking the Court to award them either attorneys' fees
      or costs and expenses incurred in connection with the Action and do not intend to
      make such a request in the future. Lead Plaintiffs' Counsel and the Trustee have
      separately reached agreement as to attorneys' fees, costs and expenses.

 •    Lead Plaintiffs and the Settlement Class are being represented by Scott A. Edelman,
      Esq. and Sander Bak, Esq, of Milbank, Tweed, Hadley & McCloy LLP, and Richard
      Stone, Esq. and Mark A. Strauss, Esq., of Kirby McInerney & Squire, LLP, the
      Court-appointed Lead Counsel ("Lead Plaintiffs' Counsel"). Any questions regarding
      the Settlement should be directed to Mr. Bak at Milbank, Tweed, Hadley & McCloy
      LLP, 1 Chase Manhattan Plaza, New York, NY 10005,212-530-5125, or by email to
      sbak@milbank.com.

 •    If you are a member of the Settlement Class and the Settlement is approved,
      your legal rights will be affected whether you act or not. Read this notice
      carefully and in its entirety to see what your options are in connection with the
      Settlement.




. Object to the Settlement by        If you wish to object to any part of the Settlement, you
  submitting a written               may write to the Court about your objections.
  objection so that it is received
  no later than
  2011.
                ----­
 Attend the Hearing on               Filing a written objection and notice of intention to
 _____:, 2011 and file a             appear by _              , allows you to speak in Court
 Notice of Intention to Appear       about the fairness of the proposed Settlement. If you
 so that it is received no later     have submitted a written objection to the Settlement to
 than                 ,2011.         the Court, you may (but do not have to) attend the
                                              and       to the Court about            ctions.



                                               5
    Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 53 of 103
     Case 1:06-cv-00643-GEL Document 305-2                                 Filed 07/14/11            Page 4 of 54




•    These rights and options -- and the deadlines to exercise them -- are explained in
     this Notice.

•    The Court in charge of this case still has to decide whether to approve the Settlement.
     As noted above, this is only a partial settlement of the Action.




BASIC INFORMATION................................................................................................. 7
          I.       Why did I get this Notice? ......................................................................... 7
         2.        What is a class action? ............................................................................... 8
         3.        What is this lawsuit about? ........................................................................ 8
         4.        What should I do ifmy address changes, or if this notice was sent
                   to the wrong address? ................................................................................ 9
WHO IS IN THE SETTLEMENT CLASS ................................................................... 9
         5.        How do I know whether I am part of the Settlement? ............................... 9
         6.        Arc there exceptions to being included? .................................................... 9
         7.        1 am sti II not sure whether 1 am included ................................................. 10
SUMMARY OF SETTLEMENT ................................................................................. 10
         8.        How and when was the Settlement reached? ........................................... 10
         9.        What does the Settlement provide? ......................................................... 10
         10.       What are the reasons for the Settlement? ................................................. II
          II.      What is the potential outcome of the lawsuit absent the Settlement? ...... 11
THE SETTLEMENT BENEFITS - WHAT YOU GET............................................ 12
         12.       How much will be distributed to Settlement Class Members? ................ 12
         13.       How much will my payment be? ............................................................. J 2
         14.       What do I have to do to receive a share of the Settlement? ..................... 12
         15.       When will I receive my payment? ........................................................... 12
         16.       What is the effect of being a member of the Settlement Class? .............. 13
EXCLUDING YOURSELF FROM THE SETTLEMENT ....................................... 17
         17.       Do I have the right to exclude myself from the Settlement Class? .......... 17
THE LAWYERS REPRESENTING YOU ................................................................. 17
         18.       Do I have a lawyer in this case? .............................................................. 17

                                                            6
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 54 of 103
    Case 1:06-cv-00643-GEL Document 305-2                                      Filed 07/14/11            Page 5 of 54




          19.       How will the lawyers be paid? ................................................................. 18
OBJECTING TO THE SETTLEMENT OR THE EXPENSE
     APPLICATION.................................................................................................. 18
          20.       How do I tell the Court that I don't like the Settlement? ........................ 18
          21.       When and where wi II the Court decide whether to approve the
                    Settlement? ............................................................................................... 19
          22.       Do I have to come to the hearing? ........................................................... 19
          23.       May I speak at the hearing? ..................................................................... 20
IF YOU DO NOTHING ................................................................................................ 20
          24.       What happens if I do nothing at all? ........................................................ 20
GETTING MORE INFORMATION........................................................................... 20
          25.       Are there more details about the Settlement? .......................................... 20
          26.       How do I get more information? .............................................................. 21
          27.       What happens if the Settlement is not approved? .....................................21

SPECIAL NOTICE TO SECURITIES BROKERS AND OTHER
     NOMINEES ........................................................................................................ 21


                                            BASIC INFORMATION



       You may have been a securities-brokerage customer of RCM who held securities
at RCM or Refco Securities, LLC during the period October 17, 2000 to October 17,
2005; continued to hold positions with RCM on or after October 17, 2005; and elected to
contribute the proceeds of your claims in the Action to the Refco Private Actions Trust.
The Court caused this Notice to be sent to you because, if you were, you have a right to
know about the proposed Settlement and about all of your options before the Court
decides whether to approve the Settlement.

        This Notice describes the lawsuit, the Settlement, your legal rights, what benefits
are available, who is eligible for them, and how to get them.

       The Court in charge of this case is the United States District Court for the
Southern District of New York. The case is known as In re Refco Capital Markets, Ltd.
Brokerage Customer Securities Litigation, Case Number 06 Civ. 0643 (JSR).



                                                               7
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 55 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 6 of 54




       In a class action, one or more plaintiffs, called "lead plaintiffs" or "class
representatives" sue on behalf of people who have similar claims. All of the individuals
and entities on whose behalf the class representatives are suing are known as class
members. One court resolves the issues in the case for all class members.



        This lawsuit, referred to in the documents as "the Action," is a class action
alleging violations of the federal securities laws by various persons. The Court has
appointed Global Management Worldwide Limited, Arbat Equity Arbitrage Fund
Limited, and Russian Investors Securities Limited to serve as Lead Plaintiffs in the
Action, and has appointed the law firms of Milbank, Tweed, Hadley & McCloy LLP and
Kirby McInerney & Squire, LLP to serve as Lead Plaintiffs' Counsel on behalf of the
class. The Action was brought against numerous individuals and entities, including
certain current and former executive officers of Refco (including Phillip Bennett and
Santo Maggio), and the THL Defendants (collectively, the "Defendants"). Lead
Plaintiffs allege that Defendants are liable for violations of the federal securities laws
because they participated in RCM's alleged fraudulent misuse of customer securities
during the Class Period, or are otherwise responsible for that alleged fraudulent conduct.

        As alleged in the Second Amended Consolidated Class Action Complaint (the
"Complain!"), which was filed in the Action on December 21, 2007, RCM engaged in a
fraudulent scheme involving the sale and other use of customer securities held at RCM
and the misappropriation of the proceeds from those sales for the purposes of covering up
fraudulently undisclosed losses at Refco and funding Refco's operations. The plaintiffs
allege that, as a result, in excess of $2 billion in RCM customer assets were missing when
Refco filed for bankruptcy protection on October 17, 2005. The Complaint further
alleges that the THL Defendants, who invested in Refco in August 2004 in a leveraged
buyout (the "LBO"), must have known about, or were at least reckless in not uncovering,
the fraudulent scheme at RCM.

      The Complaint alleges claims under Sections I O(b) and 20( a) of the Securities
Exchange Act of 1934 (the "Exchange Act"), as well as SEC Rule 10b-5, against the
THL Defendants. The THL Defendants moved to dismiss all the claims asserted against
them.

        On August 28, 2008, the Court granted the THL Defendants' motion and
dismissed with prejudice all the claims against the THL Defendants. On December 19,
2008, plaintiffs appealed the dismissal of their claims to the United States Court of
Appeals for the Second Circuit. The appeal to the Second Circuit is fully briefed and oral
argument was heard on October 19, 2009. The Second Circuit has not yet issued a
decision on the appeal.

                                            8
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 56 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 7 of 54




        If this Notice was sent to you at the wrong address, or if your address changes in
the future, please send prompt written notification of your correct address to Sander Bak,
Esq., at the following address:

                      Milbank, Tweed, Hadley & McCloy LLP
                      1 Chase Manhattan Plaza
                      New York, NY 10005
                      (212) 530-5125
                      sbak@milbank.com

                      WHO IS IN THE SETTLEMENT CLASS



       The Court has preliminarily certified for purposes of the Settlement a Settlement
Class that consists of, subject to certain exceptions identified below, the following
individuals and entities:

              Securities brokerage customers ofRCM who: (i) at any time from
              October 17, 2000 to October 17, 2005 (the "Class Period'''),
              placed securities with or held securities at RCM and/or Refco
              Securities, LLC, directly or indirectly, as custodian or broker for
              safe-keeping, trading or other purposes, and continued to hold
              positions with RCM on October 17, 2005 or thereafter; and (ii)
              who elected to contribute the proceeds of their claims to the Refco
              Private Actions Trust.



        Even if you fall within the Settlement Class definition, you are not a member of
the Settlement Class if you are a Defendant in the action; if you were an officer or
director of Refco or any Defendant during the Class Period; if you are an immediate
family member of any of the individual Defendants; if you are an entity in which Refco
or any Defendant has a controlling interest; or if you are a legal representative, heir,
successor or assign of any of the foregoing excluded persons or entities.




                                            9
                Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 57 of 103
                  Case 1:06-cv-00643-GEL Document 305-2               Filed 07/14/11     Page 8 of 54




                       If you are still not sure whether you are included, you can contact Sander Bak,
               Esq. at the address listed in the response to question #4, above, or by phone at 212-530­
               5125, or by email tosbak@milbank.com.

                                          SUMMARY OF SETTLEMENT



                      Lead Plaintiffs reached an agreement-in-principle with the Settling Defendants
              regarding the Settlement on January 14, 2011. Thereafter, Lead Plaintiffs and the
              Settling Defendants executed the Stipulation to formalize their agreement.

                      The Settlement was reached after arms' -length negotiation between Lead
              Plaintiffs' Counsel and the Settling Defendants' Counsel, and only after Lead Plaintiffs'
              Counsel had: (i) participated in an extensive discovery process which included the
              production of millions of pages of emails, memoranda and other documents by parties
              and non-parties as well as approximately 100 depositions; (ii) investigated and analyzed
              all available evidence; (iii) researched the applicable law with respect to the claims
              against the Settling Defendants and the potential defenses thereto; (iv) conducted a
              mediation session with the Settling Defendants before Eric Green, Esq.; and (v) engaged
              in extensive discussion with the Settling Defendants' Counsel.




                      As part of the Global Settlement, the Settling Defendants made clear that they
              ascribe no monetary value to this Action given that: (i) this Court has twice dismissed
              Lead Plaintiffs' claims against the Settling Defendants (the second dismissal being "with
              prejudice"); and (ii) the Settling Defendants' believe that they have available defenses
              that are fatal, as a matter of law, to Lead Plaintiffs' claims. Although Lead Plaintiffs'
              Counsel do not agree with the Settling Defendants' position, they do agree, having
              undertaken an extensive factual investigation and legal analysis as to the claims against
              the Settling Defendants in the Action and the Settling Defendants' defenses to those
              claims, that it is extremely difficult to arrive at a predicted monetary value of the Action.
              However, Lead Plaintiffs' Counsel believe that the overall global settlement of claims
              against the Settling Defendants is fair and reasonable.

                      Based on the formulas for allocating distributions between Settlement Class
              Members and the other beneficiaries of the Refco Litigation Trust and the Refco Private
              Actions Trust (i.e., certain other unsecured creditors of Refco), the amount to be
              distributed to the Settlement Class, in the aggregate, will be approximately $40 million.
              Each Settlement Class Member, as a beneficiary of both the Refco Litigation Trust and
              the Refco Private Actions Trust, will be entitled to receive its pro-rata share of the
                                                           10




~------------------------------------------------------~'"
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 58 of 103
   Case 1:06-cv-00643-GEL Document 305-2                Filed 07/14/11     Page 9 of 54




distribution in accordance with its interests in the Trusts. If you have any questions
regarding your interests in the Trusts, please contact the Refco Estate at (201) 587-7195
or e-mail yourquestionstorefcoinc@capstoneag.com.

        If the Settlement is approved by the Court, then as of the Effective Date, all
members of the Settlement Class will be deemed to have released all claims against
Settling Defendants and the Released Defendant Persons that arise out of or relate to,
among other things, the allegations in the Complaint and/or the use of RCM customer
securities during the Class Period, as further described in Question 16 below. This
means, among other things, that, upon the Effective Date, all Settlement Class Members
will be permanently barred from asserting any of the claims described in the Stipulation
against the Settling Defendants and other released persons. In addition, upon the
Effective Date, the Settling Defendants will be precluded from suing the Lead Plaintiffs,
members of the Settlement Class, or Lead Plaintiffs' Counsel in connection with the
Action.




       Lead Plaintiffs' Counsel has concluded that the terms and conditions of the
Settlement provided for in this Stipulation are fair, reasonable, adequate and in the best
interests of the Settlement Class. Lead Plaintiffs' Counsel accordingly has recommended
the Settlement to Lead Plaintiffs and the Settlement Class Members.

        Each and all of the Settling Defendants continue to deny any and all allegations of
wrongdoing, fault, liability or damages to Lead Plaintiffs and/or the Settlement Class and
believe that they acted at all times properly, in good faith and in a manner consistent with
their legal duties and obligations and deny any wrongdoing, fault, liability or damages to
Lead Plaintiffs and/or the Settlement Class.




         If there were no Settlement and Lead Plaintiffs failed to prevail on the appeal
currently pending in the United States Court of Appeals for the Second Circuit, and were
unable to have the ruling overturned by a rehearing or through an appeal to the United
States Supreme Court, the Action would remain dismissed with prejudice and neither
Lead Plaintiffs nor the other members of the Settlement Class would recover anything
from the Settling Defendants in connection with the Action. If Lead Plaintiffs were to
prevail on appeal and some or all of Lead Plaintiffs' claims in the Action were reinstated,
litigation would continue. If Lead Plaintiffs then failed to establish any essential legal or
factual element of their claims and/or the Settling Defendants were successful in proving
any of their available defenses, the members of the Settlement Class would likely recover
nothing at all in connection with the Action. If Lead Plaintiffs were successful, any
settlement proceeds would be payable to the Private Action Trust.                 Under no


                                             II
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 59 of 103
  Case 1:06-cv-00643-GEL Document 305-2                 Filed 07/14/11    Page 10 of 54




circumstances would any class member receive any recovery other than as a beneficiary
of the Private Action Trust.

                THE SETTLEMENT BENEFITS                 WHAT YOU GET



        Based on the formulas for allocating distributions between Settlement Class
Members and the other beneficiaries of the Refco Litigation Trust and the Refco Private
Actions Trust (i.e., certain other unsecured creditors of Refco), the amount to be
distributed to the Settlement Class, in the aggregate, will be approximately $40 million.




        Each Settlement Class Member, as a beneficiary of both the Refco Litigation
Trust and the Refco Private Actions Trust will receive its pro-rata share of the
approximately $40 million distribution in accordance with its interests in the Trusts. If
you have any questions regarding your interests in the Trusts, please contact the Refco
Estate at (201) 587-7195 or e-mail yourquestionstorefcoinc@capstoneag.com.




       Under the Plan, by virtue of (a) holding an Allowed Class 4 RCM Securities
Customer Claim, (b) making an election to assign your claim into the Refco Private
Actions Trust, and (c) completing an assignment and acknowledgement form, you have a
Tranche A Private Actions Trust Interest in the Refco Private Actions Trust Interests in
the Refco Private Action Trust were distributed on August 24, 2007 to holders of
Allowed Claims based on the holders of record at that time. These interests are
evidenced by a register maintained by Wells Fargo, the Administrative Agent, for the
Refco Private Actions Trust (Refco P AT Registry").

       To receive a distribution of proceeds from this settlement from the Refco Private
Actions Trust, you are not required to do anything at this time.




        Wells Fargo will effectuate the distribution upon the occurrence of the latter of (i)
the Court's dismissal of the RCM Class Action as to the THL Defendants, and (ii) the
filing of the Dismissal Orders.




                                             12
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 60 of 103
  Case 1:06-cv-00643-GEL Document 305-2                 Filed 07/14/11     Page 11 of 54




        You will be bound by the orders and judgment entered by the Court regarding the
Settlement. If the Settlement is approved, you will not be able to sue, continue to sue, or
be part of any other lawsuit involving any claims released in the Settlement.

        The Judgment will dismiss with prejudice the claims against the Settling
Defendants and will provide that Lead Plaintiffs, all other Settlement Class Members and
the other Releasing Plaintiffs (as defined below) shall by operation of the Judgment fully,
finally and forever release, relinquish and discharge each and every one of the Released
Defendant Persons (as defined below) from any and all of the Released Plaintiffs' Claims
(as defined below).

         "Released Defendant Persons" means each and all of the following: (a) the
Settling Defendants; (b) the Settling Defendants' respective past and/or present affiliates
(to the extent not otherwise covered in clause (c)), and subsidiaries (the "Affiliated
Releasees"); provided, however, that Affiliated Releasees does not include Refco, Inc.,
Refco Group Ltd., LLC, New Refco Group Ltd., LLC, Refco Finance Inc., Refco Finance
Holdings LLC, Refco Capital Markets Ltd. ("RCM"), Refco Securities LLC and any and
all predecessors and subsidiaries, whether direct or indirect (collectively, "Refco") and/or
Refco Group Holdings, Inc. ("RGHI"); (c) the past and/or present employees, officers,
general partners, parents and directors of any of the Settling Defendants or any of the
Affi Iiated Releasees (the "Additional Releasees," together with the Settling Defendants
and the Affiliated Releasees, the "Releasees"); provided, however, that the past and/or
present employees, officers, partners, parents and directors of the Affiliated Releasees are
being released solely in respect of any liabilities that arose in connection with their
relationship to the Settling Defendants; (d) the Releasees' past and/or present managing
directors, representatives, agents, attorneys, insurers, reinsurers, principals, members,
managers, families, stockholders, heirs, executors, trustees, personal representatives,
estates administrators, predecessors, divisions, successors and assigns (the "Related
Releasees"); provided, however, that those of the Related Releasees who are such in their
capacity as past and/or present managing directors, representatives, agents, attorneys,
insurers, reinsurers, principals, members, managers, families, stockholders, heirs,
executors, trustees, personal representatives, estate administrators, predecessors,
divisions, successors and/or assigns of the Affiliated Releasees are being released solely
in respect of any liabilities that arose in connection with their relationship to the Settling
Defendants; and (e) the Settling Defendants' limited partners (including without
limitation those who co-invested in Refco alongside the THL Funds in August 2004) and
each of their past and/or present employees, officers, partners, directors, managing
directors, heirs, executors, trustees, and estates administrators (the "Limited Partner
Releasees"); provided, however, that the Limited Partner Releasees are being released
solely in their capacity as limited partners of the Settling Defendants and/or as co­
investors who invested in Refco alongside the THL Funds in August 2004.


                                             13
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 61 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 12 of 54




        "Released Defendant Persons" also includes any Person who received any portion
of the payments or transfers identified in Counts I, II and/or III of the First Amended
Complaint filed in the Refco-THL Estate Action, on or about December 4, 2009, either
directly from the transferors identified in the First Amended Complaint or from any of
the Settling Defendants (the "Subsequent Transferees"); provided however, that with
regard to any of the Subsequent Transferees who are not also Releasees, Related
Releasees, or Limited Partner Releasees, the Released Claims are limited to those claims
that are derivative of or otherwise arise out of claims or allegations raised or made in the
First Amended Complaint.

         Notwithstanding this prOVISIOn or any other prOVISIOn in the Agreement,
"Released Defendant Persons" does not include any of the existing defendants in the
following actions as of January 14, 20 II, all of which the parties acknowledge and agree
are listed on Annex A attached hereto (and/or (a) their successors, assigns, transferees, or
(b) any individual or entity, which individual or entity knew or should have known that it
would have been sued in one of the following actions but for a mistake in using the
wrong name to identify such person or entity, and in addition, such person or entity knew
of the existence of the action): (i) Kirschner v. Grant Thornton LLP, et ai., 07-Civ. 11604
(S.D.N.Y), including but not limited to Ernst & Young U.S. LLP, Tone N. Grant, Robert
C. Trosten, Refco Group Holdings, Inc., Phillip R. Bennett, Santo C. Maggio, Grant
Thornton LLP, Mayer Brown LLP, Mayer Brown International LLP,
PriceWaterhouseCoopers LLP, Credit Suisse Securities (USA) LLC, Banc of America
Securities LLC, Deutsche Bank Securities Inc., Liberty Corner Capital Strategies LLC,
William T. Pigott, Ingram Micro. Inc., CIM Ventures, Inc., Beckenham Trading
Company, Inc. and Andrew Krieger; (ii) Kirschner v. KPlvfG LLP., 08-Civ. 8784
(S.D.N.Y), including but not limited to KPMG LLP; (iii) Kirschner v. Bennett et al., 07­
Civ. 8165 (S.D.N.Y), including but not limited to Phillip R. Bennett, Santo C. Maggio,
Grant Thornton LLP, Mayer Brown International LLP, and Mayer Brown LLP; (iv)
Kirschner v. Hackl et al., 07-Civ. 09238 (S.D.N.Y), including but not limited to Clarnet
Properties S.A., and W.P.M., S.A.; (v) Kirschner v. Agoglia, et ai., Adv. Pro. No. 07­
03060 (Bankr. S.D.N.Y), including but not limited to Phillip R. Bennett, John Agoglia,
Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust, Edwin L. Cox, Sukhmeet
Dhillon, Trustee(s) of the Dittmer Family Trust, Stephen J. Grady, Tone Grant, Eric
Lipoff, Peter 1. McCarthy, Joseph Murphy, Frank Mutterer, William M. Sexton, Santo C.
Maggio, Robert C. Trosten, Memphis Holdings LLC, MLC First Cayman Ltd, Refco
Group Holdings, Inc., Willard Sparks and the MSD Family Trust; (vi) Kirschner v.
Sugrue, et al., 07-Civ. 645 (Delaware), including but not limited to Christopher Sugrue;
(vii) Kirschner v. Tradition Asiel Securities, Inc., No. 07-02851 (Bankr. S.D.N.Y.),
including but not limited to Tradition Asiel Securities, Inc.; (viii) Kirschner v. The New
York Times Co., dba NewYorkTimes.com, No. 07-02859 (Bankr. S.D.N.Y.), including but
not limited to The New York Times Co. d/b/a NewYorkTimes.com; (ix) Kirschner v.
VTB Bank aka Bank for Foreign Trade of Russia, No. 07-03019 (Bankr. S.D.N.Y.),
including but not limited to VTB Bank aka Bank for Foreign Trade of Russia; and (x)
Kirschner v. Icon Interiors, Inc., No. 08-01397 (Bankr. S.D.N. Y.), including but not

                                            14
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 62 of 103
  Case 1:06-cv-00643-GEL Document 305-2                Filed 07/14/11    Page 13 of 54




limited to Icon Interiors, Inc. However, this final paragraph (the third paragraph of this
definition) does not apply to the Settling Defendants.

        "Released Plaintiffs' Claims" means any and all claims, demands, actions, causes
of action, obligations, debts, judgments, interests, complaints, claims, liabilities,
promises, agreements, controversies, suits, rights, damages, costs, losses, debts, charges,
expenses (including attorneys' fees and disbursements of counsel, other professionals and
consultants) and liabilities of any and all kind, nature and description, whether direct or
derivative, whether at law or in equity (upon any legal or equitable theory, whether
contractual, tort-based, common law or statutory, whether arising under federal, state,
common or foreign law, whether based on bad faith, allegedly intentional, willful,
negligent or reckless conduct, whether asserted as claims, cross-claims, counterclaims,
third-party claims or in any other manner in any pleadings or filings in this Court, in any
federal or state court, or in any other court, arbitration proceeding, administrative agency
or other forum in the United States or elsewhere), whether such are known or Unknown
(as that term is defined below), secured or unsecured, contingent or absolute, choate or
inchoate, suspected or unsuspected, ripened or unripened, liquidated or unliquidated,
perfected or unperfected, whether asserted on the Releasing Plaintiffs' own behalf or on
behalf of another Person, and whether they be directly, indirectly, nominally or
beneficially, possessed or claimed by the Releasing Plaintiff, that such Person, or any
Person or entity claiming through such Person or by right in respect of such Person, has
ever had since the beginning of time, now has, or that may arise or accrue in the future
against any of the Released Defendant Persons that: (a) in any way arise out of, are based
upon, relate to or concern the facts, matters, occurrences, claims made, allegations,
representations, omissions, actions (or failure to act), transactions, agreements, or
conduct alleged, complained of, set forth, referred to, involved in or which could have
been raised or made in the Complaint and/or in the Action; (b) in any way relates to or
concerns Refco and/or RGHI, or the conduct of any of Refco's and/or RGHI's present or
former partners, limited partners, officers, directors, employees, agents, accountants,
auditors, affiliates, advisors, representatives, professionals, owners or attorneys to the
extent that such conduct relates in any way to the conduct complained of or that could
have been complained of in the Action that has occurred prior to the Effective Date; (c) in
any way arise out of, are based upon, relate to or concern the THL Funds' investment in
Refco, including, without limitation, the initial investment in August 2004, the
transactions, agreements, matters, due diligence and events leading thereto and
undertaken in connection therewith; (d) in any way arise out of, are based upon, relate to
or concern any and all agreements entered into by and between any of the Released
Defendant Persons and Refco and/or RGHI, including without limitation, the
Management Agreement, entered into August 5, 2004, by and between New Refco Group
Ltd., LLC, Refco Group Ltd., LLC and THL Managers V LLC; (e) in any way arise out
of, are based upon, relate to or concern Refco's August 2005 initial public offering; (f) in
any way arise out of, are based upon, relate to or concern securities deposited or held at
RCM and/or Refco Securities, LLC; (g) in any way arise out of, are based upon, relate to
or concern the 9% Senior Subordinated Notes due 2012, issued by Refco Group Ltd.,
LLC and Refco Finance Inc. (and guaranteed by other Refco entities); (h) in any way
                                              15
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 63 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 14 of 54




arise out of, are based upon, relate to or concern the cases filed by any Refco entity under
title 11 of the United States Code on or around October 17, 2005, and any subsequent
proceedings therein, as well as any and all related cases; (i) in any way arise out of, are
based upon, relate to or concern claims under any section of title II of the United States
Code, including but not limited to 11 U.S.C. §§ 502(j) and (h), that in any way relates to
or concerns Refco and/or RGHI; and/or (j) in any way arise out of, are based upon, relate
to or concern the facts, matters, occurrences, claims made, allegations, representations,
omissions, actions (or failure to act), transactions, agreements, or conduct alleged,
complained of, set forth, referred to, involved in or which could have been raised or made
in Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604 (S.D.N.Y); Kirschner v.
KPMG LLP., 08-Civ. 8784 (S.D.N.Y); Kirschner v. Bennett et at., 07-Civ. 8165
(S.D.N.Y); Kirschner v. Hackl et al., 07-Civ. 09238 (S.D.N.Y); Kirschner v. Agoglia, et
aI., Adv. Pro. No. 07-03060 (Bankr. S.D.N.Y); Kirschner v. Sugrue, et aI., 07-Civ. 645
(Delaware); Kirschner v. Tradition Asiel Securities, Inc., No. 07-02851 (Bankr.
S.D.N.Y.); Kirschner v. The New York Times Co., dba NewYorkTimes.com, No. 07­
02859 (Bankr. S.D.N.Y.); Kirschner v. VTB Bank aka Bankfor Foreign Trade ofRussia,
No. 07-03019 (Bankr. S.D.N.Y.); and Kirschner v. Icon Interiors, Inc., No. 08-01397
(Bankr. S.D.N.Y.).

        "Releasing Plaintiffs" means each and all of the following: (a) Lead Plaintiffs, (b)
every Settlement Class Member, and (c) all of their present or former partners, limited
partners, officers, directors, employees, agents, affiliates, owners, predecessors,
successors, assigns, heirs, executors, administrators, trustees, and any other Person who
has the right, ability, standing or capacity to assert, prosecute or maintain any of the
Released Claims or to obtain the proceeds of any recovery (in whole or in part) on those
claims, to the extent any such persons and entities described in this subsection (c) are
within any of Lead Plaintiffs' or Settlement Class Members' control.

        "Unknown" in the definition of Released Plaintiffs' Claims includes claims that
each of the Releasing Persons currently does not know or suspect to exist at the time he,
she or it executes the release, but which, if known by him, her or it, might affect his, her
or its agreement to execute or grant the release or might affect a decision with respect to
the Settlement (including the decision to object or not to object to the Settlement). The
Settling Parties and the Releasing Persons expressly acknowledge that they may hereafter
discover facts in addition to or different from those that he, she or it now knows or
believes to be true with respect to the subject matter of the Released Claims, but that it is
nevertheless his, her or its intention to fully, finally and forever settle and release the
Released Claims, including those Unknown as that term is employed in this definition,
and will be deemed to have done so by operation of the Order and Final Judgment. The
Settling Parties and the Releasing Persons expressly acknowledge that the inclusion of
"Unknown" claims as defined herein was separately bargained for and was a key element
of the Settlement (of which the releases provided herein are a material and essential part)
and each expressly waives and relinquishes to the fullest extent permitted by law, and
shall be deemed by operation of the Final Order and Judgment to have waived and

                                             16
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 64 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 15 of 54




relinquished, the benefits of: (i) the provisions, rights and benefits of Section 1542 of the
California Civil Code, which provides as follows:

        A general release does not extend to claims, which the creditor does not
        know or suspect to exist in his or her favor at the time of executing the
        release, which if known by him or her must have materially affected his
        or her settlement with the debtor.

and (ii) any and all provisions or rights conferred by any law of any state or territory of
the United States or principle of common law, which is similar, comparable or equivalent
to Section 1542 of the California Civil Code.

       Notwithstanding anything to the contrary above, the Released Claims do not
include claims to enforce the Judgment and the Settlement, and any or all of their terms,
including but not limited to the releases provided for in the Judgment.

          EXCLUDING YOURSELF FROM THE SETTLEMENT CLASS



       No, for two reasons.

         1.     Under the terms of the Refco Private Actions Trust, as set forth in detail in
the Refco Private Actions Trust Agreement, dated December 26, 2006 and approved by
the Bankruptcy Court on the same date, the Trustee has the power and authority to settle
all causes of action in favor of or against the Refco Private Actions Trust, including the
right to remain in the Action for purposes or settlement or opt out of any settlement of the
securities fraud claims asserted in the Action, the proceeds of which have been assigned
to the Trustee.

       2.     On          2011 the Court preliminarily certified the Settlement Class as
a non-opt out class. This means that the Court has ordered that the Settlement Class is
mandatory and you have no right to opt out.

                       THE LAWYERS REPRESENTING YOU



        The Court has appointed Global Management Worldwide Limited, Arbat Equity
Arbitrage Fund Limited, and Russian Investors Securities Limited to serve as Lead
Plaintiffs in the Action, and has appointed the law firms of Milbank, Tweed, Hadley &
McCloy LLP and Kirby McInerney & Squire, LLP to serve as Lead Plaintiffs' Counsel
on behalf of the class. If you have any questions about the proposed Settlement, you may
contact Lead Plaintiffs' Counsel as follows: Sander Bak, Esq. at Milbank, Tweed, Hadley

                                             17
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 65 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 16 of 54




& McCloy LLP, 1 Chase Manhattan Plaza, New York, NY 10005, 212-530-51
sbak@,milbank.com.

       If you want to be represented by your own lawyer, you may hire one at your own
expense.




       You will be not charged for the fees or expenses of the Lead Plaintiffs' Counsel
appointed by the Court.

        Lead Plaintiffs' Counsel are not asking the Court to award them either attorneys'
fees or costs and expenses incurred in connection with the Action and do not intend to do
so in the future. Lead Plaintiffs' Counsel and the Trustee have separately reached
agreement as to attorneys' fees, costs and expenses.

                        OBJECTING TO THE SETTLEMENT



        If you are a Settlement Class Member, you can object to the Settlement or any
part of it, and give reasons why you think the Court should not approve it. To object, you
must send a letter or other filing saying that you object to the proposed Settlement in In
re Refco Capital Markets, Ltd. Brokerage Customer Securities Litigation, Case No. 06
Civ. 643 (JSR). Be sure to include your name, address, telephone number, signature, and
the reasons for your objection, as well as a list stating the amount of securities you held at
RCM and/or Refco Securities, LLC during the Class Period that you claim RCM used
without your consent, and (2) a statement indicating whether you received anything for
your securities held at RCM in connection with Refco's bankruptcy proceedings, and if
so, how much. Your written objection must be sent to the following counsel and must be
received by them no later than                       , 2011 :

Counsel for Settling Defendants:

       Greg A. Danilow
       Weil, Gotshal & Manges LLP
       767 Fifth A venue
       New York, NY 10153

       Richard A. Rosen
       Paul, Weiss, Rifkind, Wharton & Garrison LLP
       1285 A venue of the Americas
       New York, NY 10019

Lead Plaintiffs' Counsel:
                                             18
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 66 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 17 of 54




       Scott A. Edelman
       Milbank, Tweed, Hadley & McCloy LLP
       1 Chase Manhattan Plaza
       New York, NY 10005

and

       Mark A. Strauss
       Kirby McInerney & Squire, LLP
       825 Third A venue
       New York, NY 10022,

      You must also file your objection with the clerk of the United States District
Court for the Southern District of New York, so it is received no later than
_ _ _ _ _, 2011. The address is:

       Clerk of the U.S. District Court for the Southern District of New York
       Daniel Patrick Moynihan United States Courthouse
       500 Pearl Street
       New York, NY 10007-1312

         Persons who intend to object and desire to present evidence at the Settlement
Hearing must include in their written objection the identity of any witnesses they may
call to testify and exhibits they intend to introduce into evidence at the hearing.

       Any member of the Settlement Class who does not object in the manner provided
above will be deemed to have waived all objections to the Settlement.




        The Court has scheduled a hearing on the proposed Settlement for _ _ _ _ _,
2011 at            , before the Honorable Jed S. Rakoff in the U.S. District Court for the
Southern District of New York, United States Courthouse, 500 Pearl Street, New York,
New York 10007. At this hearing, the Court will consider whether the Settlement is fair,
reasonable, and adequate. If there are objections, the Court will consider them. At or
after the hearing, the Court will decide whether to approve the Settlement.

        Please note that the date of the Court hearing is subject to change without further
notice. If you plan to attend the hearing, you should check with Lead Plaintiffs' Counsel
to be sure no change to the date and time of the hearing has been made.




       No. Lead Plaintiffs' Counsel will answer any questions the Court might have.
But you are welcome to come at your own expense. If you send an objection, you do not
                                            19
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 67 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 18 of 54




have to come to the Court to talk about it. As long as you mailed your written objection
so that it was received by the deadline, it will be before the Court when the Court
considers whether to approve the Settlement.

       You may also pay your own lawyer to attend the hearing, but attendance is not
necessary.




        If you are a Settlement Class Member, you may ask the Court for permission to
speak at the hearing. To do so, you must send a letter or other paper called a "Notice of
Intention to Appear at Fairness Hearing in In re Refco Capital Markets. Ltd. Brokerage
Customer Securities Litigation." Be sure to include your name, address, telephone
number, and your signature.

        Your Notice of Intention to Appear must be filed with the Clerk of the Court and
sent to the counsel listed above in the answer to Question #22 so it is received by the
Court and counsel no later than                   2011.

                               IF YOU DO NOTHING



         If you do nothing in response to this Notice, you will remain a member of the
Settlement Class and will be bound by the Settlement and all of its terms, including the
releases. You will not be able to start, continue, or be part of any other lawsuit or
arbitration against the Settling Defendants or the other Released Defendant Persons based
on the claims in the Action. If the Settlement receives final approval you will receive
your pro rata share of the approximately $40 million that will be distributed, in the
aggregate, to the Settlement Class. If you have any questions regarding your interests in
the Trusts, please contact the Refco Estate at (201) 587-7195 or e-mail your questions to
refcoinc@capstoneag.com.

                         GETTING MORE INFORMATION




       This Notice contains only a summary of the proposed Settlement. The complete
Settlement is set out in a Stipulation and Agreement of Settlement dated February 28,
2011. You may request a copy of the Stipulation by writing to Sander Bak, Esq. at
Milbank, Tweed, Hadley & McCloy LLP, 1 Chase Manhattan Plaza, New York, NY
10005, sbak@milbank.com.



                                           20
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 68 of 103
  Case 1:06-cv-00643-GEL Document 305-2                Filed 07/14/11     Page 19 of 54




        Anyone interested in more detail regarding the Action is invited to visit the Office
of the Clerk of the United States District Court for the Southern District of New York at
the United States Courthouse, 500 Pearl Street, New York, NY, 10007, during regular
business hours, to inspect the Stipulation, the pleadings, and the other papers maintained
there in Case No. 06 Clv. 643 (JSR). And if you have any questions about the proposed
Settlement, you may contact Sander Bak, Esq. at Milbank, Tweed, Hadley & McCloy
LLP, 1 Chase Manhattan Plaza, New York, NY 10005, 212-530-5125,
sbak@mitbank.com.

 PLEASE DO NOT CALL OR WRITE THE COURT OR THE OFFICE OF THE
           CLERK OF COURT REGARDING THIS NOTICE.



        All the funds to be received by the Settlement Class are being paid pursuant to
the Global Settlement. The Settling Defendants have the right to terminate the Global
Settlement if the Settlement is not approved. If they do that, the Settlement Class will not
receive the distributions described above. The Settling Defendants might not terminate
the Global Settlement if the Settlement is not approved. However, in that case any
amounts recovered against them in the Action would be returned to them by the Trustee.
In addition, the Lead Plaintiffs will ask the Court to allow them to withdraw from the
Action and new lead plaintiffs will have to be appointed to continue the Action.

   SPECIAL NOTICE TO SECURITIES BROKERS AND OTHER NOMINEES

        If you held securities at RCM during the Class Period for the beneficial interest of
a person or organization other than yourself, you must either (i) send a copy of this
Notice to such beneficial owner, postmarked no later than seven (7) days after you
receive this Notice, or (ii) provide the names and addresses of such persons no later than
seven (7) days after you receive this Notice to Sander Bak, Esq. at Milbank, Tweed,
Hadley & McCloy LLP, 1 Chase Manhattan Plaza, New York, NY 10005,212-530-5125,
sbak@milbank.com.


Dated: _ _ _ _ _ _ _ __                          BY ORDER OF THE COURT

                                                 Hon. Jed S. Rakoff
                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF NEW YORK
                                                 #437243



                                            21
               Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 69 of 103
               Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 20 of 54




                                                                  Annex A
                                                  List of Defendants as of January 14, 20 II


               1. Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604 (S.D.N.Y)
                             •     Grant Thornton LLP
                             •     Mayer, Brown, Rowe & Maw, LLP
                             •     Ernst & Young U.S. LLP
                             •     PricewaterhouseCoopers LLP
                             •     Credit Suisse Securities (USA) LLC (fJkJa Credit Suisse First Boston(l)
                                   LLC)
                             •     Bane of America Securities LLC(J)
                             •     Deutsche Bank Securities Inc. (I)
                             •     Phillip R. Bennett
                             •     Santo C. Maggio
                             •     Robert C. Trosten
                             •     Tone N. Grant
                             •     Refco Group Holdings, Inc.
                             •     Liberty Corncr Capital Strategies, LLC
                             •     William T. Pigott(2)
                             •     EMF Financial Products, LLC(2)
                             •     EMF Core Fund, Ltd. (2)
                             •     Delta Flyer Fund, LLC(2)
                             •     Eric M. Flanagan(2)
                             •     Ingram Micro, Inc. (2)
                             •     CIM Ventures, Inc. (2)
                             •     Beckcnham Trading Co. Inc. (2)
                             •     Andrew Krieger(2)
                             •     Coast Asset Management, LLC (f/kaJ Coast Asset Management LP)(2)
                             •     CS Land Management, LLC(2)
                             •     Christopher Petitt(2)

              2. Kirschner v. KPMG LLP, 08-Civ. 8784 (S.D.N.Y)
                         • KPMG LLP

              3. Kirschher v. Bennett, et al., 07-Civ. 8165 (S.D.N.Y)
                         • Phillip R. Bennett
                         • Santo C. Maggio
                         • Robert C. Trosten
                         • Mayer, Brown LLP
                         • Mayer Brown International LLP
                         • Grant Thornton LLP



              us_ACTIVE:'43639123102\77356,OO64




-_......_
       ......................................._--------------_._ _-_._-_ .. -.­      .....
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 70 of 103
Case 1 :06-cv-00643-GEL Document 305-2                  Filed 07/14/11     Page 21 of 54




4. Kirschner v. Hackl, et al., 07-Civ. 09238 (S.D.N.Y)

               •     Thomas Hackl(2)
               •     Clarnet Properties S.A. (2)
               •     Acies Asset Management S.A. (2)
               •     W.P.M. S.A. (2)

5. Kirschner v. Agoglia, et al., Adv. Pro. No. 07-03060 (Bankr. S.D.NY)
           • John D. AgogJia(2)
           • Philip R. Bennett
           • The Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust
           • Edwin L. COX(2)
           • Sukhmeet "Micky" Dhillon(2)
           • The Trustee(s) of the Jasdeep Dhillon Trustee MSD Family Trust(2)
           • Thomas H. Dittmer
           • The Trustee(s) of the Dittmer Trust
           • Stephen GradY(2)
           • Tone N. Grant
           • Eric LiPOff(2)
           • Santo Maggio
           • Peter McCarthy
           • Joseph Murphy
           • Frank Mutterer
           • William Sexton
           • Willard Sparks
           • Robert Trosten
           • Memphis Holdings LLC(2)
           • MLC First Cayman Ltd. (2)
           • Refco Group Holdings, Inc.
           • John Does I Through 10 (defined as "unidentified entities and/or
                individuals who received directly or indirectly funds or assets from the
                Debtors that constitute fraudulent transfers and/or preferential transfers")
                     (3)


6. Kirschner v. Sugrue, et al., 07-Civ. 645 (Delaware)
           • Christopher Sugrue(2)
           • John Does (defined as "persons who [sic] Sugrue distributed the Suffolk­
                SUG transfers subsequent to his receipt. Thus, the John Does are the
                immediate or mediate transferees of the SUG Loan proceeds via the
                fraudulent transfer from Refeo Capital to Suffolk-SUG.") 0)


7. Kirschner v. Tradition Asiel Securities, Inc., No. 07-02851 (Bankr. S.D.N.Y.)
           • Tradition Asiel Securities, Inc. (2)


US_AcnVE:·,43639123\02177356.0064               2
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 71 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 22 of 54




8. Kirschner v. The New York Times Co., dba New Yo rk Times. com, No. 07-02859 (Bankr.
S.D.N.Y.)
           • The New York Times Co., dba New York Times.com


9. Kirschner v. VTB Bank aka Bankfor Foreign Trade ofRussia, No. 07-03019 (Bankr.
S.D.N.Y.)
           • VTB Bank aka Bank for Foreign Trade of Russia

10. Kirschnerv. Icon Interiors, Inc., No. 08-0l397 (Bankr. S.D.N.Y.)
         :. Icon Interiors, Inc. (2)




- - - .._---_.
               L
(I)       The parties acknowledge and agree that the listing of this defendant shall not vitiate or in any way
limit the rdpase under clause (e) of the definition of "THL Released Person" as it relates to any affiliate of
this defendant in its capacity as an investor in any of the THL Funds or as a co-investor with any of the
THL Funds in Refeo.

(2)       The parties acknowledge and agree that if this defendant is an assignee, transferee or successor of
any person who was an investor in any of the THL funds, or who co-invested with any of the THL Funds in
Refco, then solely in its capacity as such an assignee, transferee or successor, this defendant shall be
entitled to the same release to which its assignor, transferor or predecessor was entitled under clause (e) of
the definition of "THL Released Person".

(3)     The parties acknowledge and agree that no person included in the definition of the "THL Released
Person" shall be substituted for or otherwise covered by this listed class of defendants.




US_ACT1VE:143639 I 23102\77 356.0064                  3
                    Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 72 of 103
                    Case 1:06-cv-00643-GEL Document 305-2         Filed 07/14/11    Page 23 of 54




                                        Exhibit B




 ---_        ........-------------------­



- - - - - - - - - - - - - - - - - - - - - _ " " " " " " " " ' ".."""'A'· _ _,,""_
   Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 73 of 103
   Case 1:06-cv-00643-GEL Document 305-2 Filed 07114/11 Page 24 of 54




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------­   J{


In re REFCO CAPITAL MARKETS, LTD.                                     06 Civ. 0643 (JSR)
BROKERAGE CUSTOMER SECURITIES                                         08 Civ. 6167 (2d Cir.)
LITIGATION

-------------------------------------------------------------- x

                           [PROPOSED] JUDGMENT AND ORDER
                             OF DISMISSAL WITH PREJUDICE

         WHEREAS, Lead Plaintiffs Global Management Worldwide Limited, Arbat

Equity Arbitrage Fund Limited and Russian Investors Securities Limited ("Lead

Plaintiffs"), on behalf of themselves and the class of persons and entities defined below,

and Defendants Thomas H. Lee Equity Fund V, L.P., Thomas H. Lee Parallel Fund V,

L.P., Thomas H. Lee Equity (Cayman) Fund V, L.P., Thomas H. Lee Partners, L.P.,

Thomas H. Lee Equity Advisors V, LLC, THL Managers V, LLC, Thomas H. Lee

Advisors, LLC, Thomas H. Lee Investors Limited Partnership, The 1997 Thomas H. Lee

Nominee Trust, Thomas H. Lee, David V. Harkins, Scott L. Jaeckel and Scott A. Schoen

(the "Settling Defendants" and, together with the Lead Plaintiffs, the "Settling Parties"),

have entered into a Stipulation and Agreement of Settlement dated February 28, 2011

(the "Stipulation") that provides for a complete dismissal with prejudice of the claims

asserted in the above-referenced litigation (the "Action") against the Settling Defendants

on the tenns and conditions set forth in the Stipulation, subject to the approval of this

Court (the "Settlement"); and




                                                     2
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 74 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 25 of 54




       WHEREAS, the capitalized words and tenns not otherwise defined herein shall

have the meaning as set forth below in Section I, entitled "Definitions";

       WHEREAS, by Order dated ~, 2011 (the "Preliminary Approval Order"), this

Court: (a) preliminarily approved the Settlement and certified a Settlement Class solely

for purposes of effectuating the Settlement, (b) ordered that notice of the proposed

Settlement be provided to potential Settlement Class Members, (c) provided Settlement

Class Members with the opportunity to object to the proposed Settlement, and (d)

scheduled a hearing regarding final approval of the Settlement;

       WHEREAS, due and adequate notice having been given to the Settlement Class;

       WHEREAS, this Court conducted a hearing on                       ,2011 to consider,

among other things, whether the terms and conditions ofthe Settlement are fair,

reasonable and adequate and should therefore be approved, and whether a judgment

should be entered dismissing the Action with prejudice as against the Settling Defendants

(the "Settlement Hearing"); and

       WHEREAS, the Court having reviewed and considered the Stipulation, all papers

filed and proceedings held herein in connection with the Settlement, all oral and written

comments received regarding the proposed Settlement, and the record in the Action, and

good cause appearing there tor;

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED:

       1.      Definitions

       The following terms shall have the following meanings for the purpose of this

Judgment And Order of Dismissal With Prejudice:


                                             3
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 75 of 103
   Case 1:06-cv-00643-GEL Document 305-2                Filed 07/14/11     Page 26 of 54




        1.1    "Action" means In re Refco Capital Markets, Ltd. Brokerage Customer

Securities Liti gation, No. 06 Civ. 0643 (JSR), currently on appeal to the United States

Court of Appeals for the Second Circuit (08-Civ-6 I 67).

        1.2     "Class Period" means the period beginning on October 17, 2000 through

and including October 17, 2005.

        1.3    "Court" means the United States District Court for the Southern District of

New York, in which the Action was commenced. The Court subsequently dismissed the

Action with prejudice on August 28, 2008. The Action is currently pending in the United

States Court of Appeals for the Second Circuit.

        1.4    "Defendants" means, collectively, the Settling Defendants and the Non-

Settling Defendants.

        1.5    "Effective Date" means the date upon which the Settlement contemplated

by thc StipUlation shall become final and effective as set forth in Section 7 of the

Stipulation.

        1.6    "Final Order and Judgment" means the judgment and order of dismissal

with prejudice as set forth herein.

        1.7    "Global Settlement" means the Settlement Agreement and General

Release, dated as of February 28,2011, between, among others, Lead Plaintiffs and the

Settling Defendants.

        1.8    "Lead Plaintiffs" means Global Management Worldwide Limited, Arbat

Equity Arbitrage Fund Limited and Russian Investors Securities Limited.

       1.9     "Lead Plaintiffs' Counsel" means the law firms of Milbank, Tweed,

Hadley & McCloy LLP and Kirby McInerney & Squire, LLP.


                                             4
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 76 of 103
   Case 1:06-cv-00643-GEL Document 305-2                 Filed 07/14/11    Page 27 of 54




        1.10    "Non-Settling Defendants" means any Person, other than the Settling

Defendants, who: (a) is a named defendant in the Action; andlor (b) was previously a

named defendant in the Action but was dismissed for any reason, whether by settlement,

judgment or otherwise.

        1.11    "Notice" means the Notice of (i) Proposed Settlement of Class Action

with the THL Defendants and (ii) Hearing on Proposed Settlement, which was sent to

Settlement Class Members on _ . _,2011.

        1.12    "Person" means an individual, corporation, limited liability company,

professional corporation, limited liability partnership, partnership, limited partncrship,

association, joint stock company, estate, legal representative, trust, unincorporated

association, government or any political subdivision or agency thereof and any business

or legal entity as well as each of their spouses, heirs, predecessors, successors,

representatives or assignees.

        1.13    "Preliminary Approval Order" means the proposed order entered by the

Court preliminarily approving the Settlement and directing notice thereof to the

Settlement Class on _ _, 2011.

        1.14    "Refco" means Refco, Inc., Refco Group Ltd., LLC, New Refco Group

Ltd., LLC, Refco Finance Inc., Refco Finance Holdings LLC, Refco Capital Markets Ltd.

("RCM"), Refco Securities LLC and any and all predecessors and subsidiaries, whether

direct or indirect.

        1.15    "Refco Chapter 11 Plan" means the Modified Joint Chapter II Plan of

Refco Inc. and Certain of its Direct and Indirect Subsidiaries, as confirmed by the United

States Bankruptcy Court for the Southern District of New York on December 26, 2006.


                                              5
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 77 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 28 of 54




        1.16   "Refco-THL Estate Action" means the action commenced by the Trustee

for the Refco Litigation Trust against the Settling Defendants entitled Kirschner v.

Thomas H. Lee Partners, IP, et at, No. 07 Civ. 7074 (JSR) (S.D.N.Y.).

        1.17   "Refco Litigation Trust" means the trust established pursuant to the Refco

Chapter II Plan, the terms of which are set forth in the Refco Litigation Trust

Agreement, dated December 26, 2006.

       1.18    "Refco Private Actions Trust" means the trust established pursuant to the

Refco Chapter 11 Plan, the terms of which are set forth in the Refco Non-Estate Private

Actions Trust Agreement, dated December 26, 2006.

        1.19   "Released Claims" means, collectively, all of the Released Plaintiffs'

Claims and all of the Released Defendants' Claims.

        1.20   "Released Defendant Persons" means each and all of the following: (a)

the Settling Defendants; (b) the Settling Defendants' respective past and/or present

affiliates {to the extent not otherwise covered in clause (c», and subsidiaries (the

"Affiliated Releasees"); provided, however, that Affiliated Releasees does not include

Refco and/or Refco Group Holdings, Inc. ("RGHI"); (c) the past and/or present

employees, officers, general partners, parents and directors of any of the Settling

Defendants or any of the Affiliated Releasees (the "Additional Releasees," together with

the Settling Defendants and the Aftiliated Releasees, the "Releasees"); provided,

however, that the past and/or present employees, officers, partners, parents and directors

of the Affiliated Releasees are being released solely in respect of any liabilities that arose

in connection with their relationship to the Settling Defendants; (d) the Releasees' past

and/or present managing directors, representatives, agents, attorneys, insurers, reinsurers,


                                              6
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 78 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 29 of 54




principals, members, managers, families, stockholders, heirs, executors, trustees, personal

representatives, estates administrators, predecessors, divisions, successors and assigns

(the "Related Releasees"); provided, however, that those of the Related Releasees who

are such in their capacity as past and/or present managing directors, representatives,

agents, attomeys, insurers, reinsurers, principals, members, managers, families,

stockholders, heirs, executors, trustees, personal representatives, estate administrators,

predecessors, divisions, successors and/or assigns of the Affiliated Releasees are being

released solely in respect of any liabilities that arose in connection with their relationship

to the Settling Defendants; and (e) the Settling Defendants' limited partners (including

without limitation those who co-invested in Refco alongside the THL Funds in August

2004) and each of their past and/or present employees, officers, partners, directors,

managing directors, heirs, executors, trustees, and estates administrators (the "Limited

Partner Releasees"); provided, however, that the Limited Partner Re1easees are being

released solely in their capacity as limited partners of the Settling Defendants and/or as

co-investors who invested in Refco alongside the THL Funds in August 2004.

Released Defendant Persons also includes any Person who received any portion of the

payments or transfers identified in Counts I, II and/or III of the First Amended Complaint

filed in the Refco-THL Estate Action, on or about December 4,2009, either directly from

the transferors identified in the First Amended Complaint or from any of the Settling

Defendants (the "Subsequent Transferees"); provided however, that with regard to any of

the Subsequent Transferees who are not also Releasees, Related Releasees, or Limited

Partner Releasees, the Released Claims are limited to those claims that are derivative of




                                              7
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 79 of 103
   Case 1:06-cv-00643-G           Document 305-2        Filed 07/14/11    Page 30 of 54




or otherwise arise out of claims or allegations raised or made in the First Amended

Complaint.


Notwithstanding this provision or any other provision in this Final Order and Judgment,

"Released Defendant Persons" does not include any of the existing defendants in the

following actions as of January 14,2011, all of which the parties acknowledge and agree

are listed on Annex A attached hereto (and/or (a) their successors, assigns, transferees, or

(b) any individual or entity, which individual or entity knew or should have known that it

would have been sued in one of the following actions but for a mistake in using the

wrong name to identify such person or entity, and in addition, such person or entity knew

of the existence of the action): (i) Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604

(S.D.N.Y), including but not limited to Ernst & Young U.S. LLP, Tone N. Grant, Robert

C. Trosten, Refeo Group Holdings, Inc., Phillip R. Bennett, Santo C. Maggio, Grant

Thornton LLP, Mayer Brown LLP, Mayer Brown International LLP,

PriceWaterhouseCoopers LLP, Credit Suisse Securities (USA) LLC, Bane of America

Securities LLC, Deutsche Bank Securities Inc., Liberty Comer Capital Strategies LLC,

William T. Pigott, Ingram Micro. Inc., CIM Ventures, Inc., Beckenham Trading

Company, Inc. and Andrew Krieger; (ii) Kirschner v. KPMG LLP., 08-Civ. 8784

(S.D.N.Y), including but not limited to KPMG LLP; (iii) Kirschner v. Bennett et al., 07­

Civ. 8165 (S.D.N.Y), including but not limited to Phillip R. Bennett, Santo C. Maggio,

Grant Thornton LLP, Mayer Brown International LLP, and Mayer Brown LLP; (iv)

Kirschner v. Hackl et al., 07-Civ. 09238 (S.D.N.Y), including but not limited to Clarnet

Properties S.A., and W.P.M., S.A.; (v) Kirschner v. Agoglia. et ai., Adv. Pro. No. 07­

03060 (Bankr. S.D.N.Y), including but not limited to Phillip R. Bennett, John Agoglia,


                                             8
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 80 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 31 of 54




Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust, Edwin L. Cox, Sukhmeet

Dhillon, Trustee(s) of the Dittmer Family Trust, Stephen J. Grady, Tone Grant, Eric

Lipoff, Peter J. McCarthy, Joseph Murphy, Frank Mutterer, William M. Sexton, Santo C.

Maggio, Robert C. Trosten, Memphis Holdings LLC, MLC First Cayman Ltd, Refco

Group Holdings, Inc., Willard Sparks and the MSD Family Trust; (vi) Kirschner v.

Sugrue, et al., 07-Civ. 645 (Delaware), including but not limited to Christopher Sugrue;

(vii) Kirschner v. Tradition Asiel Securities, Inc., No. 07-0285] (Bankr. S.D. N.Y.),

including but not limited to Tradition Asiel Securities, Inc.; (viii) Kirschner v. The New

York Times Co., dba NewYorkTimes.com, No. 07-02859 (Bankr. S.D.N.Y.), including but

not limited to The New York Times Co. d/b/a NewYorkTimes.com; Ox) Kirschner v.

VTB Bank aka Bankfor Foreign Trade ofRussia, No. 07·03019 (Bankr. S.D.N.Y.),

including but not limited to VTB Bank aka Bank for Foreign Trade of Russia; and (x)

Kirschner v. leon Interiors, Inc., No. 08-01397 (Bankr. S.D.N.Y.), including but not

limited to Icon Interiors, Inc. However, this final paragraph (the third paragraph of this

provision) does not apply to the Settling Defendants.

        1.21   "Released Defendants' Claims" means any and all claims, demands,

actions, causes of action, obligations, debts, judgments, interests, complaints, claims,

liabilities, promises, agreements, controversies, suits, rights, damages, costs, losses,

debts, charges, expenses (including attorneys' fees and disbursements of counsel, other

professionals and consultants) and liabilities of any and all kind, nature and description,

whether direct or derivative, whether at law or in equity (upon any legal or equitable

theory, whether contractual, tort-based, common law or statutory, whether arising under

federal, state, common or foreign law, whether based on bad faith, allegedly intentional,


                                              9
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 81 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 32 of 54




willful, negligent or reckless conduct, whether asserted as claims, cross-claims,

counterclaims, third-party claims or in any other manner in any pleadings or filings in

this Court, in any federal or state court, or in any other court, arbitration proceeding,

administrative agency or other forum in the United States or elsewhere), whether such are

known or Unknown (as that term is employed and defined in Paragraph 1.34 below),

secured or unsecured, contingent or absolute, choate or inchoate, suspected or

unsuspected, ripened or unripened, liquidated or unliquidated, perfected or unperfected,

whether asserted on the Releasing Defendants' behalf or on behalf of another Person,

whether asserted by any or all of the Releasing Defendants, against any or all of the

Released Plaintiff Persons and whether they be directly, indirectly, nominally or

beneficially, possessed or claimed by the Releasing Defendant, that such Person, or any

Person or entity claiming through such Person or by right in respect of such Person, has

ever had since the beginning of time, now has, or that may arise or accrue in the future

and that arise out of or relate in any way to the institution, prosecution or settlement of

the Action, except for claims relating to the enforcement of the Settlement.

Nothing in this Definition is intended to release any of the claims identified in Paragraph

1 I(c) below that were or may be asserted by any of the Settling Defendants. Moreover,

nothing in this Definition is intended to modify or limit the releases contained in the

Global Settlement.

        1.22   "Released Persons" means, collectively, the Released Plaintiff Persons and

the Released Defendant Persons.

       1.23    "Released Plaintiff Persons" means, collectively, Lead Plaintiffs, the

Refco Litigation Trust, the Refco Private Actions Trust, the Trustee, members of the


                                             10
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 82 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 33 of 54




Board of Directors of the Refco Litigation Trust, members of the Board of Directors of

the Refco Private Actions Trust, Refco, together with any of its affiliates, the Refco

Estate, the Refco Plan Administrators, Marc S. Kirschner and Robert Manzo, Lead

Plaintiffs' Counsel and the law firm Quinn Emanuel Urquhart & Sullivan, LLP,

Settlement Class Members, any other counsel any Settlement Class Member retained or

employed in this Action and each of their respective past and/or present affiliates,

subsidiaries, general partners, parents and limited partners, employees, officers, partners,

directors, managing directors, representatives, agents, attorneys, insurers, reinsurers,

principals, members, managers, families, stockholders, heirs, executors, trustees, personal

representatives, estates administrators, predecessors, divisions, successors and assigns;

provided. however, that "Released Plaintiff Persons" does not include Grant Thornton

LLP, Refco Group Holdings, Inc., Phillip R. Bennett individually or in his capacity as

owner of Refco Group Holdings, Inc., or the estate of Phillip R. Bennett.

        1.24   "Released Plaintiffs' Claims" means any and all claims, demands, actions,

causes of action, obligations, debts, judgments, interests, complaints, claims, liabilities,

promises, agreements, controversies, suits, rights, damages, costs, losses, debts, charges,

expenses (including attorneys' fees and disbursements of counsel, other professionals and

consultants) and liabilities of any and all kind, nature and description, whether direct or

derivative, whether at law or in equity (upon any legal or equitable theory, whether

contractual, tort-based, common law or statutory, whether arising under federal, state,

common or foreign law, whether based on bad faith, allegedly intentional, willful,

negligent or reckless conduct, whether asserted as claims, cross-claims, counterclaims,

third-party claims or in any other manner in any pleadings or filings in this Court, in any


                                             11
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 83 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 34 of 54




federal or state court, or in any other court, arbitration proceeding, administrative agency

or other forum in the United States or elsewhere), whether such are known or Unknown

(as that tenn is employed in Paragraph 1.34 below), secured or unsecured, contingent or

absolute, choate or inchoate, suspected or unsuspected, ripened or unripened, liquidated

or unliquidated, perfected or unperfected, whether asserted on the Releasing Plaintiffs'

own behalf or on behalf of another Person, and whether they be directly, indirectly,

nominally or beneficially, possessed or claimed by the Releasing Plaintiff, that such

Person, or any Person or entity claiming through such Person or by right in respect of

such Person, has ever had since the beginning of time, now has, or that may arise or

accrue in the future against any of the Released Defendant Persons that: (a) in any way

arise out of, are based upon, relate to or concern the facts, matters, occurrences, claims

made, allegations, representations, omissions, actions (or failure to act), transactions,

agreements, or conduct alleged, complained of, set forth, referred to, involved in or which

could have been raised or made in the Complaint and/or in the Action; (b) in any way

relates to or concerns Refco and/or RGHI, or the conduct of any of Refco's and/or

RGHI's present or fonner partners, limited partners, officers, directors, employees,

agents, affiliates, accountants, auditors, advisors, representatives, professionals, owners

or attorneys to the extent that such conduct relates in any way to the conduct complained

of or that could have been complained of in the Action that has occurred prior to the

Effective Date; (c) in any way arise out of, are based upon, relate to or concern the THL

Funds' investment in Refco, including, without limitation, the initial investment in

August 2004, the transactions, agreements, matters, due diligence and events leading

thereto and undertaken in connection therewith; (d) in any way arise out of, are based


                                             12
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 84 of 103
  Case 1:06-cv-00643-GEL Document 305-2                 Filed 07/14/11     Page 35 of 54




upon, relate to or concern any and all agreements entered into by and between any of the

Released Defendant Persons and Refco and/or RGHI, including without limitation, the

Management Agreement, entered into August 5, 2004, by and between New Refco Group

Ltd., LLC, Refco Group Ltd., LLC and THL Managers V LLC; (e) in any way arise out

of, are based upon, relate to or concern Refco's August 2005 initial public offering; (f) in

any way arise out of, are based upon, relate to or concern securities deposited or held at

RCM and/or Refco Securities, LLC; (g) in any way arise out of, are based upon, relate to

or concern the 9% Senior Subordinated Notes due 2012, issued by Refco Group Ltd.,

LLC and Refco Finance Inc. (and guaranteed by other Refco entities); (h) in any way

arise out of, are based upon, relate to or concern the cases filed by any Refco entity under

title 11 of the United States Code on or around October 17,2005, and any subsequent

proceedings therein, as well as any and all related cases; (i) in any way arise out of, are

based upon, relate to or concern claims under any section oftitle II of the United States

Code, including but not limited to II U.S.C. §§ 5020) and (h), that in any way relates to

or concerns Refco and/or RGHI; and/or 0) in any way arise out of, are based upon, relate

to or concern the facts, matters, occurrences, claims made, allegations, representations,

omissions, actions (or failure to act), transactions, agreements, or conduct alleged,

complained of, set forth, referred to, involved in or which could have been raised or made

in Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604 (S.D.N.Y); Kirschner v.

KPMG LLP., 08-Civ. 8784 (S.D.N.Y); Kirschner v. Bennett et al., 07-Civ. 8165

(S.D.N.Y); Kirschner v. Hackl et ai., 07-Civ. 09238 (S.D.N.Y); Kirschner v. Agoglia, et

al., Adv. Pro. No. 07-03060 (Bankr. S.D.N.Y); Kirschner v. Sugrue, et aI., 07-Civ. 645

(Delaware); Kirschner v. Tradition Asiel Securities. Inc., No. 07-02851 (Bankr.


                                             13
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 85 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 36 of 54




S.D.N.Y.); Kirschner v. The Ne}v York Times Co., dba New YorkTim es. com, No. 07­

02859 (Bankr. S.D.N.Y.); Kirschner v. VTB Bank aka Bank/or Foreign Trade o/Russia,

No. 07-03019 (Bankr. S.D.N.Y.); and Kirschner v. Icon Interiors, Inc., No. 08-01397

(Bankr. S.D.N.Y.).

        1.25   "Releasing Defendants" means each and all of the following: (a) Thomas

H. Lee Equity Fund V, L.P., Thomas H. Lee Parallel Fund V, L.P., and Thomas H. Lee

Equity (Cayman) Fund V, L.P., THLP, Thomas H. Lee Advisors, LLC, THL Managers

V, LLC, THL Equity Advisors V, LLC, Thomas H. Lee Investors Limited Partnership,

the 1997 Thomas H. Lee Nominee Trust, Thomas H. Lee, David V. Harkins, Scott L.

Jaeckel and Scott A. Schoen and (b) all of the THL Defendants' present or former

partners, limited partners, officers, directors, employees, agents, affiliates, owners,

predecessors, successors, assigns, heirs, executors, administrators, and trustees and any

other Person who has the right, ability, standing or capacity to assert, prosecute or

maintain any of the Released Claims or to obtain the proceeds of any recovery (in whole

or in part) on those claims, to the extent any such persons and entities described in this

subsection (b) are within the THL Defendants' control.

        1.26   "Releasing Plaintiffs" means each and all of the following: (a) Lead

Plaintiffs, (b) every Settlement Class Member, and (c) all of their present or former

partners, limited partners, officers, directors, employees, agents, affiliates, owners,

predecessors, successors, assigns, heirs, executors, administrators, trustees, and any other

Person who has the right, ability, standing or capacity to assert, prosecute or maintain any

of the Released Claims or to obtain the proceeds of any recovery (in whole or in part) on




                                             14
--------_.   __ __ _ - - - ­
                      .     ..



        Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 86 of 103
         Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 37 of 54




       those claims, to the extent any such persons and entities described in this subsection (c)

       are within any of Lead Plaintiffs' or Settlement Class Members' control.

               1.27       "Releasing Persons" means, collectively, the Releasing Plaintiffs and the

       Releasing Defendants.

               1.28       "Settlement" means the resolution and settlement of the Action as against

       the Settling Defendants pursuant to, and in accordance with, the terms and provisions of

       the Stipulation.

               1.29       "Settlement Class" means all securities brokerage customers of RCM

       who: (i) at any time from October 17,2000 to October 17, 2005, placed securities with

       or held securities at RCM and/or Refco Securities, LLC, directly or indirectly, as

       custodian or broker for safe-keeping, trading or other purposes, and continued to hold

       positions with RCM on October 17,2005 or thereafter; and (ii) who elected to contribute

       the proceeds of their claims to the Refco Private Action Trust. Excluded from the

       Settlement Class are: (a) Refco; (b) the Defendants; (c) officers and directors of Refco

       and the Defendants; (d) members of the Defendants' immediate families; (e) entities in

       which Refco or any Defendant has a controlling interest; and (f) the legal representatives,

       heirs, successors or assigns of any of the foregoing excluded persons or entities.

               1.30       "Settlement Class Member" means any person or entity that falls within

       the definition of the Settlement Class as defined above in Paragraph 1.28 and who or

       which is not excluded therefrom.

               1.31       "Settlement Hearing" means the final hearing to be held by the Court to

       detennine whether the Settlement is fair, reasonable and adequate and in the best interests




                                                      15
        Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 87 of 103
         Case 1:06-cv-00643-GEL Document 305-2                 Filed 07/14/11                  Page 38 of 54




       of the Settlement Class and should be approved as described in Paragraph 3.1 of the

       Stipulation.

               1.32    "Settling Defendants" means Thomas H. Lee Equity Fund V, L.P.,

       Thomas H. Lee Parallel Fund V, L.P., and Thomas H. Lee Equity (Cayman) Fund V, L.P.

       (the "THL Funds"); Thomas H. Lee Partners, L.P. ("THLP"), THL Managers V, LLC,

       Thomas H. Lee Equity Advisors V, LLC, Thomas H. Lee Advisors, LLC, Thomas H. Lee

       Investors Limited Partnership and The 1997 Thomas H. Lee Nominee Trust and any

       predecessor or related THL entities named in any prior version of the Complaint,

       including, without limitation, Thomas H. Lee Equity (Cayman) Fund, THL Refco

       Acquisition Partners, THL Refco Acquisition Partners II and THL Refco Acquisition

       Partners JlJ (collectively, with THLP, the "THL Entities"); and Thomas H. Lee, David V.

       Harkins, Scott L. Jaeckel and Scott A. Schoen (collectively, with the THL Entities and

       the THL Funds, the "THL Defendants"),

               1.33    "Settling Defendants' Counsel" means, collectively, the law firms of WeiI,

       Gotshal & Manges LLP and Paul, Weiss, Ritkind, Wharton & Garrison LLP.

               1.34    "Settling Parties" means, collectively, the Settling Defendants and the

       Lead Plaintiffs on behalf of themselves and each of the Settlement Class Members.

               1.35    "Unknown," for the purposes of the releases, is defined in Paragraph 8.4

       of the Stipulation.

               2.     Jurisdiction - The Court has jurisdiction over the subject matter of the

       Action and all matters relating to the Settlement, as well as personal jurisdiction over all

       of the Settling Parties and each of the Settlement Class Members.




                                                    16



----'-----------------_._---._                                   ...........................
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 88 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07114/11 Page 39 of 54




       3.      Incorporation of Settlement Documents - This Final Order and

Judgment incorporates and makes a part hereof: (a) the Stipulation filed with the Court on

-~.
      , 2011; and (b) the Notice, which was filed with the Court on - - ­ , 2011,

       4.      Settlement Class Findings - With respect to the Settlement Class set

forth below, this Court finds only for the purpose of effectuating this Settlement and only

as pertains to the claims asserted against the Settling Defendants by Lead Plaintiffs and

the Settlement Class that the prerequisites for a class action under Rules 23(a) and

23{b)(l) of the Federal Rules of Civil Procedure have been satisfied in that: (a) the

members ofthe Settlement Class are so numerous that their joinder would be

impracticable; (b) there are questions of law and fact common to the Settlement Class

which predominate over any individual questions; (c) the claims of Lead Plaintiffs in the

Action are typical of the claims of the Settlement Class; (d) Lead Plaintiffs and their

counsel, Kirby McInerney & Squire, LLP and Milbank, Tweed, Hadley & McCloy

("Lead Plaintiffs' Counsel") have fairly and adequately represented and protected the

interests of all of the Settlement Class Members; and (e) a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.

               (a)     Final Settlement Class Certification - Pursuant to Rule 23 of the

Federal Rules of Civil Procedure, the Court hereby finally certifies solely for the purpose

of effectuating this Settlement, a class of all securities brokerage customers of Refco

Capital Markets Ltd. ("RCM") who: (i) at any time from October 17,2000 to October

17,2005 (the "Class Period"), placed securities with or held securities at RCM and/or

Refco Securities, LLC, directly or indirectly, as custodian or broker for safe-keeping,

trading or other purposes, and continued to hold positions with RCM on October 17,


                                             17
         Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 89 of 103
          Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 40 of 54




       2005 or thereafter; and (ii) who elected to contribute the proceeds of their claims to the

       Refco Private Action Trust. Excluded from the Settlement Class are: (a) Refco; (b) the

       Defendants; (c) officers and directors of Refco and the Defendants; (d) members of the

       Defendants' immediate families; (e) entities in which Refco or any Defendant has a

       controlling interest; and (f) the legal representatives, heirs, successors or assigns of any of

       the foregoing excluded persons or entities.

               5.     Adequacy of Representation - Pursuant to Rule 23 of the Federal Rules

       of Civil Procedure, for purposes of the Settlement only, this Court certifies Lead

       Plaintiffs as Settlement Class representatives and appoints Lead Plaintiffs' Counsel as

       Settlement Class counsel.

              6.      Notice    The Court finds that the distribution of the Notice: (a) was

       implemented in accordance with the Court's _ _,2011 Preliminary Approval Order;

       (b) constituted the best notice reasonably practicable under the circumstances; (c)

       constituted notice that was reasonably calculated under the circumstances to apprise

       Settlement Class Members of the pendency of the Action, of the effect of the Settlement

       (including the releases provided for therein), and of their right to appear at the Settlement

       Hearing; (d) constituted due, adequate and sufficient notice to all persons and entities

       entitled to receive notice of the proposed Settlement; and (e) satisfied the requirements of

       Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution (including

       the Due Process Clause), the Private Securities Litigation Reform Act of 1995 (15 U.S.c.

       §78u-4, et seq.) (the "PSLRA"), and all other applicable law and rules.

              7.      Final Settlement Approval and Dismissal of Claims - Pursuant to, and

       in accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby


                                                     18



--------------------------------------------
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 90 of 103
   Case 1:06-cv-00643-GEL Document 305-2                  Filed 07/14/11     Page 41 of 54




fully and finally approves the Settlement set forth in the Stipulation in all respects

(including, without limitation, the amount of the Settlement, the releases provided for

therein and the dismissal with prejudice of any and all of the Released Claims against

each and everyone of the Released Persons) and finds that the Settlement is, in all

respects, fair, reasonable and adequate and is in the best interests of Lead Plaintiffs and

the Settlement Class.

        8.     The Action and all of the claims against the Settling Defendants by the

Settlement Class Members and the Lead Plaintiffs are hereby dismissed on the merits and

with prejudice, as of the Effective Date. The Settling Parties shall bear their own costs

and expenses, except as otherwise expressly provided in the Stipulation.

       9.       Binding Effect - The tenus ofthe Stipulation and ofthis Final Order and

Judgment shall forever be binding on Lead Plaintiffs and every Settlement Class

Member; each and all of their respective predecessors, successors, representatives,

affiliates, agents, heirs, executors, trustees, personal representatives, estates,

administrators, and assigns; and any other person or entity who has the right, ability,

standing or capacity to assert, prosecute or maintain any of the Released Plaintiffs'

Claims belonging to a Settlement Class Member to obtain the proceeds of any recovery

therefor but only with respect to those claims. The Settling Parties are directed to

implement, perfonu and consummate the Settlement in accordance with the tenus and

provisions contained in the Stipulation.

        10.    Releases     The releases as set forth in Paragraphs 8.2 and 8.3 of the

Stipulation (the "Releases") together with the definitions contained in Section I of the

StipUlation relating thereto are expressly incorporated herein in all respects. The


                                              19
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 91 of 103
   Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 42 of 54




Releases are effective as of the Effective Date. Accordingly, this Court orders that, as of

the Effective Date:

               (a)     each and every one of the Releasing Plaintiffs by operation of this

Final Order and Judgment shall: (i) have and be deemed to have fully, finally and forever

released, relinquished and discharged each and everyone of the Released Defendant

Persons from any and all of the Released Plaintiffs' Claims; (ii) have and be deemed to

have covenanted not to sue any of the Released Defendant Persons with respect to any

and all of the Released Plaintiffs' Claims; and (iii) forever be barred and enjoined from

filing, commencing, prosecuting intervening in, participating in (as class member or

otherwise), or receiving any benefits or other relief from any other lawsuit, arbitration or

other proceeding or order in any jurisdiction that is based upon, arises out of or relates to

any and all of the Released Plaintiffs' Claims against any of the Released Defendant

Persons. Nothing in this Paragraph is intended to release any claims asserted by Lead

Plaintiffs (or the Settlement Class) against any of the Non-Settling Defendants in the

Action;

               (b)     each and every one of the Releasing Defendants by operation of

this Final Order and Judgment shall: (i) have and be deemed to have fully, finally and

forever released, relinquished and discharged each and everyone of the Released

Plaintiff Persons from any and all of the Released Defendants' Claims; (ii) have and be

deemed to have covenanted not to sue any of the Released Plaintiff Persons with respect

to any and all of the Released Defendants' Claims; and (iii) forever be barred and

enjoined from filing, commencing, prosecuting, intervening in, participating in (as class

member or otherwise), or receiving any benefits or other relief from, any other lawsuit,


                                             20
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 92 of 103
   Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 43 of 54




arbitration or other proceeding or order in any jurisdiction that is based upon, arises out

of or relates to the Released Defendants' Claims against any of the Released Plaintiff

Persons; provided, however, that nothing in subparagraph (iii) above, the Stipulation or

this Final Order and Judgment shall limit or bar claims that do not seek recovery for the

Settling Defendant's actual or threatened liability to the Lead Plaintiffs or any Settlement

Class Member in connection with the Action, including but not limited to, the claims

asserted by the THL Funds in the following actions: (i) Thomas H Lee Equity Fund V,

L.P., et al. v. Philip R. Bennett, et al., OS Civ. 9608 (JSR) (S.D.N.Y) and (ii) Thomas H

Lee Equity Fund V, L.P., et al. v. Grant Thornton LLP, 07 Civ. 8663 (JSR) (S.D.NY);

and

               (c)     The Released Plaintiffs' Claims shall be compromised, settled,

discharged and dismissed as against the Released Defendant Persons on the merits and

with prejudice by virtue of this Final Order and Judgment. The Released Defendants'

Claims shall be compromised, settled, discharged and dismissed as against the Released

Plaintiff Persons on the merits and with prejudice by virtue of this Final Order and

Judgment.

Notwithstanding anything to the contrary above, the Released Claims do not include

claims to enforce this Final Order and Judgment and the Settlement, and any or all of

their tem1s, including but not limited to the releases provided for in this Final Order and

Judgment.

       11.     Contribution Bar Order -- The Court hereby:

               (a)     permanently bars, enjoins and restrains any and all Persons trom

commencing, prosecuting or asserting against any of the Released Defendant Persons any


                                             21
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 93 of 103
   Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 44 of 54




claim for contribution or indemnity arising out ofthe Action (or any other claim where

the injury to the claiming Person is the claiming Person's actual or threatened liability to

the Lead Plaintiffs or any Settlement Class Member arising out of the Action);

               (b)     permanently bars, enjoins and restrains the Released Defendant

Persons from commencing, prosecuting or asserting against any and all Persons (other

than a Person whose liability has been extinguished by the Settlement) any claim for

contribution or indemnity arising out of the Action (or any other claim where the injury

to the Released Defendant Person is the Released Defendant Persons' actual or threatened

liability to the Lead Plaintiffs or any Settlement Class Member arising out of the Action);

and

               (c)     provides that nothing in subparagraphs (a) and (b) above, the

Stipulation or this Final Order and Judgment shall limit or bar claims that do not seek

recovery for the Settling Defendant's actual or threatened liability to the Lead Plaintiffs

or any Settlement Class Member in connection with the Action, including but not limited

to, the claims asserted by the THL Funds in the following actions: (i) Thomas H. Lee

Equity Fund V, L.P., et al. v. Philip R. Bennett, et al., 05 Civ. 9608 (JSR) (S.D.N.Y) and

(ii) Thomas H. Lee Equity Fund V, L.P., et al. v. Grant Thornton LLP, 07 Civ. 8663

(JSR) (S.D.NY).

        12.    Judgment Reduction        Any final verdict or judgment that may be

obtained by or on behalf of the Settlement Class or a Settlement Class Member against a

Non-Settling Defendant or Non-Settling Defendants shall be reduced by the greater of:

(a) an amount that corresponds to the percentage of responsibility of the Settling




                                             22
  Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 94 of 103
   Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 45 of 54




Defendants for common damages; or (b) the amount paid by or on behalf of the Settling

Defendants to the Settlement Class for common damages.

        13.    Rule 11 Findings - The Court finds and concludes that the Settling

Parties and their respective counsel have complied in all respects with the requirements

of Rule II of the Federal Rules of Civil Procedure in connection with the

commencement, maintenance, prosecution, defense and/or settlement of the Action. The

Court further finds that Lead Plaintiffs and Lead Plaintiffs' Counsel adequately

represented the Settlement Class Members for purposes of entering into and

implementing the Settlement.

        14.    No Admissions       This Final Order and Judgment, the facts and terms of

the Settlement and Stipulation (including all exhibits thereto) as well as all negotiations,

discussions, acts performed, agreements, drafts, documents signed and proceedings in

connection with the Settlement;

               (a)     shall not be described as, construed as, interpreted as, or offered or

received against any of the Settling Defendants as evidence of and/or deemed to be

evidence of any presumption, concession or admission by any of the Settling Defendants

as to: (i) the truth of any fact alleged in the Complaint; (Ii) the validity of any claim that

has been or could have been asserted in the Action or in any other litigation; (iii) the

deficiency of any defense that has been or could have been asserted in the Action or in

any other litigation; and/or (iv) any liability, negligence, fault, or wrongdoing on their

part;




                                              23
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 95 of 103
  Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 46 of 54




               (b)     shall not be described as, construed as, interpreted as or offered or

recei ved against Lead Plaintiffs or any Settlement Class Member as evidence of any

infirmity in the claims of said Lead Plaintiffs and the Settlement Class;

               (c)     shall not be described as, construed as, interpreted as, offered or

received against any of the Settling Defendants, Lead Plaintiffs and/or any Settlement

Class Member as an admission or concession that thc consideration to be given in the

Settlement represents the amount which could be or would have been awarded to said

Lead Plaintiffs or Settlement Class Members after trial; and

               (d)     shall not be offered or received against any of the Settling Parties

in any other civil, criminal or administrative action or proceeding, except in connection

with any action, litigation or proceeding to enforce the terms of the Stipulation.

        15.    Nothing in this Final Order and Judgment shall preclude any action to

enforcc the terms of the Stipulation or this Final Ordcr and Judgment. Notwithstanding

Paragraph 14, any of the Released Persons may file, cite and/or refer to the Stipulation

and this Final Order and Judgment in any other action or proceeding that may be brought

against them in any forum in order to effectuate the liability protection granted hereunder,

or to support a defense or counterclaim based on principles of res judicata, collateral

estoppel, release and discharge, good faith settlement, judgment bar or reduction, or any

theory of claim preclusion or issue preclusion or similar defense or counterclaim.

        16.    Retention of Jurisdiction - Without affecting the finality of this Final

Order and Judgment in any way, this Court retains continuing and exclusive jurisdiction

over: (a) the Settling Parties for purposes of the administration, interpretation,




                                             24
 Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 96 of 103
  Case 1:06-cv-00643-GEL Document 305-2                   Filed 07/14/11    Page 47 of 54




implementation and enforcement of the Settlement; and (b) the Settlement Class

Members for all matters relating to the Action.

        17.    Modifications of the Settlement Agreement - Without further approval

from the Court, Lead Plaintiffs and Settling Defendants are hereby authorized to agree to

and adopt such amendments and modifications of the StipUlation or any exhibits attached

thereto to effectuate this Settlement that: (a) arc not materially inconsistent with this

Final Order and Judgment; and (b) do not materially limit the rights of Settlement Class

Members in connection with the Settlement. Without further order of the Court, Lead

Plaintiffs and the Settling Defendants may agree to reasonable extensions of time to carry

out any provisions ofthe Settlement.

        18.    Entry of Final Judgment        There is no just reason to delay the entry of

this Final Order and Judgment as a final judgment as against the Settling Defendants.

The Clerk of the Court is expressly directed to immediately enter final judgment as

against thc Settling Defendants, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure.

        19.    Termination      If the Effecti ve Date does not occur or the Stipulation is

terminated, then this Final Order and Judgment (and any orders of the Court relating to

the Settlement) shall be vacated, rendered null and void and be of no further force or

effect, except as otherwise provided by the Stipulation.



SO ORDERED this!ftt:day of          A-z;2.. ,            2011.



                                            ~~ff~-------
                                                  United States District Judge


                                             25
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 97 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 48 of 54




                                                        Annex A
                                        List of Defendants as of January 14,2011


1. Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604 (S.D.N.Y)
           • Grant Thornton LLP
           • Mayer, Brown, Rowe & Maw, LLP
           • Ernst & Young U.S. LLP
           • PricewaterhouseCoopers LLP
           • Credit Suisse Securities (USA) LLC (£'k:Ia Credit Suisse First Boston(l)
               LLC)
           • Bane of America Securities LLC(I)
           • Deutsche Bank Securities Inc. (I)
           • Phillip R. Bennett
           • Santo C. Maggio
           • Robert C. Trosten
           • Tone N. Grant
           • Refco Group Holdings, Inc.
           • Liberty Corner Capital Strategies, LLC
           • William T. Pigott(2)
           • EMF Financial Products, LLC(2)
           • EMF Core Fund, Ltd. (2)
           • Delta Flyer Fund, LLC(2)
           • Eric M. Flanagan(2)
           • Ingram Micro, Inc. (2)
           • CIM Ventures, Inc. (2)
           • Beckenham Trading Co. Inc. (2)
           • Andrew K.rieger(2)
           • Coast Asset Management, LLC (£lkal Coast Asset Management LP) (2)
           • CS Land Management, LLC(2)
           • Christopher Petitt(2)

2. Kirschner v. KPMG LLP, 08-Civ. 8784 (S.D.N.Y)
           • KPMG LLP

3. Kirschner v. Bennett. et af., 07-Civ. 8165 (S.D.N.Y)
           • Phillip R. Bennett
           • Santo C. Maggio
           • Robert C. Trosten
           • Mayer, Brown LLP
           • Mayer Brown International LLP
           • Grant Thornton LLP




US,ACT! VE;\43639 I2J 102\ 77356.0064
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 98 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 49 of 54




4. Kirschner v. Hackl, et ai., 07-Civ. 09238 (S.D.N.V)

                 •     Thomas Hackl(2)
                 •     Clamet Properties S.A. (2)
                 •     Acies Asset Management S.A. (2)
                 •     W.P.M. S.A. (2)

5. Kirschner v. Agoglia, et aI., Adv. Pro. No. 07·03060 (Bankr. S.D.N.V)
                 •     John D. Agoglia(2)
                 •     Philip R. Bennett
                 •     The Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust
                 •     Edwin L COX(2)
                 •     Sukhmeet "Micky" Dhillon(2)
                 •     The Trustee(s) of the Jasdeep Dhillon Trustee MSD Family Trust(2)
                 •     Thomas H. DitUner
                 •     The Trustee(s) of the Dittmer Trust
                 •     Stephen GradY(2)
                 •     Tone N. Grant
                 •     Eric Lipoff(2)
                 •     Santo Maggio
                 •     Peter McCarthy
                 •     Joseph Murphy
                 •     Frank Mutterer
                 •     William Sexton
                 •     Willard Sparks
                 •     Robert Trosten
                 •     Memphis Holdings LLC(2)
                 •     MLC First Cayman Ltd. (2)
                 •     Refco Group Holdings, Inc.
                 •     John Does 1 Through 10 (defined as "unidentified entities and/or
                       individuals who received directly Or indirectly funds or assets from the
                       Debtors that constitute fraudulent transfers and/or preferential transfers")
                       (3)


6. Kirschner v. Sugrue, et al., 07-Civ. 645 (Delaware)
                 •     Christopher Sugrue(2)
                 •     John Does (defined as "persons who [sic] Sugrue distributed the Suffolk­
                       SUG transfers subsequent to his receipt. Thus, the John Does are the
                       immediate or mediate transferees of the SUG Loan proceeds via the
                       fraudulent transfer from Refco Capital to Suffolk-SUG.") (3)


7. Kirschner v. Tradition Asiel Securities, lnc., No. 07-02851 (Bankr. S.D.N.Y.)
           • Tradition Asiel Securities, Inc. (2)


us__ ACTIVE:143639123 \02\77 356_0064                2
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 99 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 50 of 54




8. Kirschner v. The New York Times Co., dba NewYorkTimes.com, No. 07·02859 (Bankr.
S.D.N.Y.)
           • The New York Times Co., dba New York Times.com


9. Kirschner v. VTB Bank aka Bank/or Foreign Trade 0/ Russia, No. 07·03019 (Bankr.
S.D.N.Y.)
           • VTB Bank aka Bank for Foreign Trade of Russia

10. Kirschner v. Icon Interiors, Inc., No. 08-01397 (Bankr. S.D.N.Y.)
           • Icon Interiors, Inc. (2)




(I)       The parties acknowledge and agree that the listing of this defendant shall not vitiate or in any way
limit the release under clause (e) of the definition of "THL Released Person" as it relates to any affiliate of
this defendant in its eapaeity as an investor in any of the THL Funds or as a eo-investor with any of the
THL Funds in Refco.

(2)       The parties acknowledge and agree that if this defendant is an assignee, transferee or successor of
any person who was an investor in any of the THL funds, or who co· invested with any ofthe THL Funds in
Refco, then solely in its capacity as such an assignee, transferee or successor, this defendant shall be
entitled to the same release to which its assignor, transferor or predecessor was entitled under clause (e) of
the definition of"THL Released Person".

(3)     The parties acknowledge and agree that no person included in the definition of the "THL Released
Person" shall be substituted for or otherwise covered by this listed class of defendants.




US .ACTI VE:\43639123 02\ 77356.0064
                     '                                3
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 100 of 103
 Case 1:06-cv-00643-GEL Document 305-2   Filed 07/14/11   Page 51 of 54




                 Exhibit C
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 101 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 52 of 54




                                         List or Defendants as of January 14, 20 It


 I. Kirschner v. Grant Thornton LLP, et al., 07-Civ. 11604 (S.D.N.Y)
            • Grant Thornton LLP
            • Mayer, Brown, Rowe & Maw, LLP
            • Ernst & Young U.S. LLP
            • PricewatcrhouseCoopers LLP
            • Credit Suisse Securities (USA) LLC (fJkla Credit Suisse First Boston(Jl
                 LLC)
            • Bane of America Securities LLC(I)
            • Deutsche Bank Securities lnc. (I)
            • Phillip R. Bennett
            • Santo C. Maggio
            • Robert C. Trosten
            • Tone N. Grant
            • Refco Group Holdings, Inc.
            • Liberty Comer Capital Strategies, LLC
            • William T. Pigott(2)
            • EMF Financial Products, LLC(2)
            • EMF Core Fund, Ltd. (2)
            • Delta Flyer Fund, LLC(2)
            • Eric M. Flanagan(2)
            • Ingram Micro, Inc. (2)
            • CIM Ventures, Inc. (2)
            • Beckenham Trading Co. Inc. (2)
            • Andrew Krieger(2)
            • Coast Asset Management, LLC (flka/ Coast Asset Management LP) (2)
            • CS Land Management, LLC(2)
            • Christopher Petittm

 2. Kirschner v. KPMG LLP, 08-Civ. 8784 (S.D.N.Y)
            • KPMG LLP

 3. Kirschner v. Bennett, et 01., 07-Civ. 8165 (S.D.N.Y)
            • Phillip R. Bennett
            • Santo C. Maggio
            • Robert C. Trosten
            • Mayer, Brown LLP
            • Mayer Brown International LLP
            • Grant Thornton LLP




 us_ACT! V!i:\436l91, 3\02\ 77356.0064
     Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 102 of 103
      Case 1:06-cv-00643-GEL Document 305-2 Filed 07114/11 Page 53 of 54



,
If


      4. Kirschner v. Hackl, et al., 07·Civ. 09238 (S.D.N.Y)

                     •     Thomas Hackl(2}
                     •     C]amet Properties S.A. (2)
                     •     Acies Asset Management S.A. (2)
                     •     W.P.M. SA. (2)

      5. Kirschner v. Agoglia, et at., Adv. Pro. No. 07-03060 (Bankr. S.D.N.Y)
                 • John D. Agoglia(2}
                 • Philip R. Bennett
                 • The Trustee(s) of the Phillip R. Bennett Three Year Annuity Trust
                 • Edwin L. COX(!)
                 • Sukhmeet "Micky" Dhillon(2)
                 • The Trustee(s) of the Jasdeep Dhillon Trustee MSD Family Trusl(2)
                 • Thomas H. Dittmer
                 • The Trustee(s) of the Dittmer Trust
                 • Stephen GradY(2)
                 • Tone N. Grant
                 • Eric Lipoff(2)
                 • Santo Maggio
                 • Peter McCarthy
                 • Joseph Murphy
                  • Frank Mutterer
                  • William Sexton
                  • Willard Sparks
                  • Robert Trosten
                  • Memphis Holdings LLC(2)
                  • MLC First Cayman Ltd. (2)
                  • Refco Group Holdings. Inc.
                  • John Does I Through 10 (defined as "unidentified entities and/or
                      individuals who received directly or indirectly funds or assets from the
                      Debtors that constitute fraudulent transfers and/or preferential transfers")
                            (3)


      6. Kirschner v. Sugrue, et al., 07-Civ. 645 (Delaware)
                 • Christopher Sugrue(2)
                 • John Does (defined as "persons who [sic] Sugrue distributed the Suffolk·
                      SUG transfers subsequent to his receipt. Thus, the John Does are the
                      immediate or mediate transferees of the SUG Loan proceeds via the
                      Fraudulent transfer from Refco Capital to Suffolk-SUG.") ())


      7. Kirschner v. Tradition Asiel Securities, 1nc., No. 07-02851 (Bankr. S.D.N.Y.)
                 • Tradition Asicl Securities, Inc. (2)


      US .ACTIVE \4303912]'02\77 356.0064             2
Case 1:06-cv-00643-GEL Document 314 Filed 08/16/11 Page 103 of 103
 Case 1:06-cv-00643-GEL Document 305-2 Filed 07/14/11 Page 54 of 54




 8, Kirschner v, The New York Times Co" dba New Yo rk Times. com, No, 07-02859 (Bankr.
 S,D,N,Y,)
            • The New York Times Co" dba New York Times.com


 9, Kirschner v, VTB Bank aka Bank/or Foreign Trade 0/ Russia, No, 07-03019 (Bankr.
 S.D,N,Y,)
            • VTB Bank aka Bank for Foreign Trade of Russia

  10, Kirschner v. Icon Inferiors. Inc" No, 08-01397 (Bankr. S.D.N,Y,)
             • Icon Interiors, Inc. (2)




 (I)       The parties acknowledge and agree that the listing of this defendant shall not yitiate or in any way
 limit the release under clause (e) of the definition of "THL Released Person" as it relates \0 any affiliate of
 this defendant in its capacity as an investor in any of the THL Funds or as a co-investor with any of the
 THL Funds in Rcfco,

 (2)        The paTties acknowledge and agree that if this defendant is an assignee, transferee or successor of
 <lilyperson who was an investor in any of the THL funds, or who co-invested with any of the THL Funds in
 Refco, then solely in its capacity as such an assignee, transferee or successor, this defendant shall he
 entitlt:d tu th~ same release to which its assignor, transferor or predecessor was entitled under clause (e) of
 the definllion of"THL Released Person"

 (3)      The pnrties acknowledge and agree that no person included in the definition of the "THL Released
 Person" shall be substituted for or otherwisc covered by this listed class of defendants.




                                                       3
